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               EXHIBIT A
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            SUPREME COURT OF THE STATE OF NEW YORK
            NEW YORK COUNTY

             GREGORY ALFORD; CURTIS ANDERSON; RONALD
             ATWATER; WILFRED BACHELDER; VINCENT
             BARBER; MISTI BEACH; JAMES BECKLES; JUANITA
             BLAIR; ROBERT BLAKEY; JIM BLUE SR.; CARLTON
             BOST; LASHANNA BOWSER; JAMES BRETNEY;
             SANDRA CANNON-AUSTIN; GAIL CARGIN; FLOYD                        Index No. _________/2021
             CLONTZ; TAYLOR COBB; ANDREAS CRAMER VON
             CLAUSBRUCH; DWIGHT CREW; DOMINIQUE                              SUMMONS
             CRISLER; ROBERT DARLING; WESLEY DARNELL;                        Venue is designated pursuant to
             LEONARD DAVIS; BENJAMIN DOMINGUEZ; BRIAN                        CPLR § 503(a) & (c) in that the
             DROST; WILLIAM FORSHEE; JERRY FRYER; DANNY                      causes of action occurred in this
             GARCIA; EARNEST HAWKINS JR.; COURTLAND                          county.
             HAYES; TODD HEMMING; THADDEUS HICKMAN;
             NICHOLAS HIDDEMEN; ROBERT HOLT; ERIC
             HOPKINS; DOUGLAS HUGHES; TIMOTHY HYDE;
             JOHN HYLAND; ENRIQUE IGLESIAS; FRANKLIN
             JENKINS; MICHAEL P. JOHNSON; BEVERLY
             KINDRED JR; MARVIN KNIGHT; TERRENCE
             KNOWLES; CHAZ KNOX; CLIFFORD LEWIS; JEFFREY
             MACK; JAMES MALONE; AUDREY MCGAHEY;
             BRYAN MCGAHEY; MARK MILLAR; TOM MOORE;
             BRAZIER MORTON JR.; ROBERT MULLEN; THOMAS
             NESMITH; RONOLD OLSON; DAVID PAPPAS; KAYLA
             PARRISH; BRIAN POLKINGHORNE; CHRISTINE
             POLLAKIS, AS EXECUTOR OF THE ESTATE OF
             EDWARD POLLAKIS; JAY T. POTTER; DARRELL
             RAINWATER; BEVERLY REED; DONALD REESE;
             JOSEPH RELAFORD; STEPHEN RICE; CHESTER
             RUSHING JR.; NATHAN SAINE; CHARLES SAWHILL;
             ANDREW ALAN SHORT; MARSHALL W. SIMMONS;
             AJ STABLER; CHARLES STOLL; JAMES SYDNOR;
             TIMOTEO VILLASANA; SAM VITRANO; LISA
             SCROGGINS, AS PERSONAL REPRESENTATIVE OF
             THE ESTATE OF BEN WARD; KIMBERLY WARREN,
             AS PERSONAL REPRESENTATIVE OF THE ESTATE
             OF DAN WARREN; EDWIN WATERS; CHARLES
             WEBB; MICHELLE WEGNER, AS PERSONAL
             REPRESENTATIVE OF THE ESTATE OF STEVEN


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             WEGNER; ANTHONY WELBORN; PAUL WELCH, AS
             PERSONAL REPRESENTATIVE OF THE ESTATE OF
             EDWIN WELCH; KATHERINE WEST; RICHARD
             WILDER; JAMES WILMORE; AND KENNETH WILSON,

                             Plaintiffs,

             -vs -

             THE 3M COMPANY, f/k/a Minnesota Mining and
             Manufacturing Co., AGC CHEMICALS AMERICAS INC.,
             AMEREX CORPORATION, ARKEMA INC.,
             ARCHROMA MANAGEMENT LLC, BASF
             CORPORATION, individually and as successor in interest to
             Ciba Inc., BUCKEYE FIRE EQUIPMENT COMPANY,
             CARRIER GLOBAL CORPORATION, CHEMDESIGN
             PRODUCTS INC., CHEMGUARD INC. CHEMICALS,
             INC., CLARIANT CORPORATION, individually and as
             successor in interest to Sandoz Chemical Corporation,
             CORTEVA, INC., individually and as successor in interest to
             DuPont Chemical Solutions Enterprise, DEEPWATER
             CHEMICALS, INC., DUPONT DE NEMOURS INC.,
             individually and as successor in interest to DuPont Chemical
             Solutions Enterprise, DYNAX CORPORATION, E. I.
             DUPONT DE NEMOURS AND COMPANY, individually
             and as successor in interest to DuPont Chemical Solutions
             Enterprise, KIDDE-FENWAL, INC., individually and as
             successor in interest to Kidde Fire Fighting, Inc., NATION
             FORD CHEMICAL COMPANY, NATIONAL FOAM,
             INC., THE CHEMOURS COMPANY, individually and as
             successor in interest to DuPont Chemical Solutions
             Enterprise, THE CHEMOURS COMPANY FC, LLC,
             individually and as successor in interest to DuPont Chemical
             Solutions Enterprise, and TYCO FIRE PRODUCTS, LP,
             individually and as successor in interest to The Ansul
             Company, and DOE DEFENDANTS 1-20, fictitious names
             whose present identities are unknown,

                             Defendants.


            To the above-named Defendant:

                     You are hereby summoned to answer the Complaint in this action, and to serve a copy of

            your Answer, or, if the Complaint is not served with this Summons, to serve a Notice of



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            Appearance on the Plaintiffs’ attorneys within twenty (20) days after the service of this Summons,

            exclusive of the day of service, where service is made by delivery upon you personally within the

            state, or, within thirty (30) days after completion of service where service is made in any other

            manner. In case of your failure to appear or answer, judgment will be taken against you by default

            for the relief demanded in the Complaint.

            Dated: New York, New York
                   November 3, 2021

                                                                        Napoli Shkolnik, PLLC
                                                                        Attorneys for Plaintiff

                                                                        /s/ Patrick J. Lanciotti
                                                                        Patrick J. Lanciotti, Esq.
                                                                        360 Lexington Avenue, 11th Floor
                                                                        New York, New York 10017
                                                                        212-397-1000
                                                                        PLanciotti@napolilaw.com




            To:

            3M COMPANY
            c/o Corporation Service Company
            251 Little Falls Drive
            Wilmington, New Castle, DE 19808

            AGC CHEMICALS AMERICAS INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            AMEREX CORPORATION
            c/o James M. Proctor II
            2900 Highway 280



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            Suite 300
            Birmingham, AL 35223

            ARCHROMA U.S. INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            ARKEMA INC.
            900 First Avenue
            King of Prussia, PA 19406

            BASF CORPORATION
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            BUCKEYE FIRE EQUIPMENT COMPANY
            c/o A Haon Corporate Agent, Inc.
            29225 Chagrin Blvd, Suite 350
            Pepper Pike, OH 44122

            CARRIER GLOBAL CORPORATION
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            CHEMDESIGN PRODUCTS INC.
            c/o Corporation Service Company
            251 Little Falls Drive
            Wilmington, New Castle, DE, 19808

            CHEMGUARD INC.
            c/o The Prentice-Hall Corporation System, Inc.
            251 Little Falls Drive
            Wilmington, New Castle, DE, 19808

            CHEMICALS, INC.
            c/o Ashok K. Moza


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            12321 Hatcherville
            Baytown, TX 77520

            CLARIANT CORPORATION
            c/o Corporation Service Company
            8040 Excelsior Drive, Suite 400
            Madison, WI 53717

            CORTEVA, INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            DEEPWATER CHEMICALS, INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            DUPONT DE NEMOURS INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            DYNAX CORPORATION
            c/o Corporate Systems LLC
            3500 S. Dupont Highway
            Dover, DE 19901

            E. I. DUPONT DE NEMOURS AND COMPANY
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            KIDDE-FENWAL, INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801


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            NATION FORD CHEMICAL COMPANY
            c/o John A. Dickson, IV
            2300 Bank Street
            Fort Mill, SC 29715

            NATIONAL FOAM, INC.
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            THE CHEMOURS COMPANY
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            THE CHEMOURS COMPANY FC, LLC
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801

            TYCO FIRE PRODUCTS LP
            c/o The Corporation Trust Company
            Corporation Trust Center
            1209 Orange Street
            Wilmington, DE 19801




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            SUPREME COURT OF THE STATE OF NEW YORK
            NEW YORK COUNTY

            GREGORY ALFORD; CURTIS ANDERSON; RONALD
            ATWATER; WILFRED BACHELDER; VINCENT
            BARBER; MISTI BEACH; JAMES BECKLES; JUANITA
            BLAIR; ROBERT BLAKEY; JIM BLUE SR.; CARLTON
            BOST; LASHANNA BOWSER; JAMES BRETNEY;
            SANDRA CANNON-AUSTIN; GAIL CARGIN; FLOYD                        Index No. _________/2021
            CLONTZ; TAYLOR COBB; ANDREAS CRAMER VON
            CLAUSBRUCH; DWIGHT CREW; DOMINIQUE                              COMPLAINT AND DEMAND
                                                                            FOR JURY TRIAL
            CRISLER; ROBERT DARLING; WESLEY DARNELL;
            LEONARD DAVIS; BENJAMIN DOMINGUEZ; BRIAN                        Trial by jury is desired in the
            DROST; WILLIAM FORSHEE; JERRY FRYER; DANNY                      County of New York
            GARCIA; EARNEST HAWKINS JR.; COURTLAND
            HAYES; TODD HEMMING; THADDEUS HICKMAN;                          Venue is designated pursuant to
            NICHOLAS HIDDEMEN; ROBERT HOLT; ERIC                            CPLR § 503(a) & (c) in that the
            HOPKINS; DOUGLAS HUGHES; TIMOTHY HYDE;                          causes of action occurred in this
            JOHN HYLAND; ENRIQUE IGLESIAS; FRANKLIN                         county.
            JENKINS; MICHAEL P. JOHNSON; BEVERLY
            KINDRED JR; MARVIN KNIGHT; TERRENCE
            KNOWLES; CHAZ KNOX; CLIFFORD LEWIS; JEFFREY
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            POLLAKIS, AS EXECUTOR OF THE ESTATE OF
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            RUSHING JR.; NATHAN SAINE; CHARLES SAWHILL;
            ANDREW ALAN SHORT; MARSHALL W. SIMMONS;
            AJ STABLER; CHARLES STOLL; JAMES SYDNOR;
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            THE ESTATE OF BEN WARD; KIMBERLY WARREN,
            AS PERSONAL REPRESENTATIVE OF THE ESTATE
            OF DAN WARREN; EDWIN WATERS; CHARLES
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            EDWIN WELCH; KATHERINE WEST; RICHARD
            WILDER; JAMES WILMORE; AND KENNETH WILSON,

                           Plaintiffs,

            -vs -

            THE 3M COMPANY, f/k/a Minnesota Mining and
            Manufacturing Co., AGC CHEMICALS AMERICAS INC.,
            AMEREX CORPORATION, ARKEMA INC.,
            ARCHROMA MANAGEMENT LLC, BASF
            CORPORATION, individually and as successor in interest to
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            CARRIER GLOBAL CORPORATION, CHEMDESIGN
            PRODUCTS INC., CHEMGUARD INC. CHEMICALS,
            INC., CLARIANT CORPORATION, individually and as
            successor in interest to Sandoz Chemical Corporation,
            CORTEVA, INC., individually and as successor in interest to
            DuPont Chemical Solutions Enterprise, DEEPWATER
            CHEMICALS, INC., DUPONT DE NEMOURS INC.,
            individually and as successor in interest to DuPont Chemical
            Solutions Enterprise, DYNAX CORPORATION, E. I.
            DUPONT DE NEMOURS AND COMPANY, individually
            and as successor in interest to DuPont Chemical Solutions
            Enterprise, KIDDE-FENWAL, INC., individually and as
            successor in interest to Kidde Fire Fighting, Inc., NATION
            FORD CHEMICAL COMPANY, NATIONAL FOAM,
            INC., THE CHEMOURS COMPANY, individually and as
            successor in interest to DuPont Chemical Solutions
            Enterprise, THE CHEMOURS COMPANY FC, LLC,
            individually and as successor in interest to DuPont Chemical
            Solutions Enterprise, and TYCO FIRE PRODUCTS, LP,
            individually and as successor in interest to The Ansul
            Company, and DOE DEFENDANTS 1-20, fictitious names
            whose present identities are unknown,

                           Defendants.



                                  COMPLAINT AND DEMAND FOR JURY TRIAL

                    Plaintiffs GREGORY ALFORD; CURTIS ANDERSON; RONALD ATWATER;

            WILFRED BACHELDER; VINCENT BARBER; MISTI BEACH; JAMES BECKLES;

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            JUANITA BLAIR; ROBERT BLAKEY; JIM BLUE SR.; CARLTON BOST; LASHANNA

            BOWSER; JAMES BRETNEY; SANDRA CANNON-AUSTIN; GAIL CARGIN; FLOYD

            CLONTZ; TAYLOR COBB; ANDREAS CRAMER VON CLAUSBRUCH; DWIGHT CREW;

            DOMINIQUE CRISLER; ROBERT DARLING; WESLEY DARNELL; LEONARD DAVIS;

            BENJAMIN DOMINGUEZ; BRIAN DROST; WILLIAM FORSHEE; JERRY FRYER;

            DANNY GARCIA; EARNEST HAWKINS JR.; COURTLAND HAYES; TODD HEMMING;

            THADDEUS HICKMAN; NICHOLAS HIDDEMEN; ROBERT HOLT; ERIC HOPKINS;

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            FRANKLIN JENKINS; MICHAEL P. JOHNSON; BEVERLY KINDRED JR; MARVIN

            KNIGHT; TERRENCE KNOWLES; CHAZ KNOX; CLIFFORD LEWIS; JEFFREY MACK;

            JAMES MALONE; AUDREY MCGAHEY; BRYAN MCGAHEY; MARK MILLAR; TOM

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            OLSON; DAVID PAPPAS; KAYLA PARRISH; BRIAN POLKINGHORNE; CHRISTINE

            POLLAKIS, AS EXECUTOR OF THE ESTATE OF EDWARD POLLAKIS; JAY T. POTTER;

            DARRELL RAINWATER; BEVERLY REED; DONALD REESE; JOSEPH RELAFORD;

            STEPHEN RICE; CHESTER RUSHING JR.; NATHAN SAINE; CHARLES SAWHILL;

            ANDREW ALAN SHORT; MARSHALL W. SIMMONS; AJ STABLER; CHARLES STOLL;

            JAMES SYDNOR; TIMOTEO VILLASANA; SAM VITRANO; LISA SCROGGINS, AS

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            WARREN, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF DAN WARREN;

            EDWIN      WATERS;       CHARLES       WEBB;     MICHELLE        WEGNER,       AS    PERSONAL

            REPRESENTATIVE OF THE ESTATE OF STEVEN WEGNER; ANTHONY WELBORN;

            PAUL WELCH, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF EDWIN



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            WELCH; KATHERINE WEST; RICHARD WILDER; JAMES WILMORE; AND KENNETH

            WILSON, (“Plaintiffs”), by and through the undersigned counsel, hereby files this Complaint

            against Defendants, 3M COMPANY, f/k/a Minnesota Mining and Manufacturing Co., AGC

            CHEMICALS AMERICAS INC., AMEREX CORPORATION, ARKEMA INC., ARCHROMA

            MANAGEMENT LLC, BASF CORPORATION, BUCKEYE FIRE EQUIPMENT COMPANY,

            CARRIER GLOBAL CORPORATION, CHEMDESIGN PRODUCTS INC., CHEMGUARD

            INC., CHEMICALS, INC., CLARIANT CORPORATION, CORTEVA, INC., DEEPWATER

            CHEMICALS, INC., DUPONT DE NEMOURS INC., DYNAX CORPORATION, E. I.

            DUPONT DE NEMOURS AND COMPANY, KIDDE-FENWAL, INC., NATION FORD

            CHEMICAL COMPANY, NATIONAL FOAM, INC., THE CHEMOURS COMPANY, THE

            CHEMOURS COMPANY FC, LLC, and TYCO FIRE PRODUCTS, LP, and DOE

            DEFENDANTS 1-20, fictitious names whose present identifies are unknown              (collectively

            “Defendants”) and alleges, upon information and belief, as follows:

                                                   INTRODUCTION

                    1.     This action arises from the foreseeable contamination of groundwater by the use

            of aqueous film-forming foam (“AFFF”) products that contained per- and poly-fluoroalkyl

            substances (“PFAS”), including perfluorooctane sulfonate (“PFOS”) and perfluorooctanoic acid

            (“PFOA”).

                    2.     PFOS and PFOA are fluorosurfactants that repel oil, grease, and water. PFOS,

            PFOA, and/or their chemical precursors, are or were components of AFFF products, which are

            firefighting suppressant agents used in training and firefighting activities for fighting Class B

            fires. Class B fires include fires involving hydrocarbon fuels such as petroleum or other

            flammable liquids.



                                                            4
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                    3.     PFOS and PFOA are mobile, persist indefinitely in the environment,

            bioaccumulate in individual organisms and humans, and biomagnify up the food chain. PFOS

            and PFOA are also associated with multiple and significant adverse health effects in humans,

            including but not limited to kidney cancer, testicular cancer, high cholesterol, thyroid disease,

            ulcerative colitis, and pregnancy-induced hypertension.

                    4.     At various times from the 1960s through today, Defendants designed,

            manufactured, marketed, distributed, and/or sold AFFF products containing PFOS, PFOA,

            and/or their chemical precursors, and/or designed, manufactured, marketed, distributed, and/or

            sold the fluorosurfactants and/or perfluorinated chemicals (“PFCs”) contained in AFFF

            (collectively, “AFFF/Component Products”).

                    5.     Defendants     designed,   manufactured,     marketed,    distributed,   and/or   sold

            AFFF/Component Products with the knowledge that these toxic compounds would be released

            into the environment during fire protection, training, and response activities, even when used as

            directed and intended by Defendants.

                    6.     Since its creation in the 1960s, AFFF designed, manufactured, marketed,

            distributed, and/or sold by Defendants, and/or that contained fluorosurfactants and/or PFCs

            designed, manufactured, marketed, distributed, and/or sold by Defendants, used as directed and

            intended by Defendants, and subsequently released into the environment during fire protection,

            training, and response activities, resulting in widespread PFAS contamination.

                    7.     Due to this contamination, Plaintiffs have suffered real personal injuries,

            bioaccumulation of PFAS in their bodies, property damage and the diminution in value of their

            properties as a result of the release of PFAS to their water supplies.




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                    8.     Plaintiffs have suffered an assortment of diseases and medical conditions as a

            direct result of their exposure to the PFAS contamination of their water supply.

                    9.     Plaintiffs, as residents and those who visited, worked, or otherwise dwelled in the

            Site area, have been unknowingly exposed for many years to PFAS, including at concentrations

            hazardous to their health.

                    10.    Plaintiffs’ unwitting exposure to PFAS in their water supply as a result of the

            Defendants’ conduct, is the direct and proximate cause of Plaintiffs’ injuries.

                    11.    Plaintiffs’ property has been damaged as a result of the presence of the PFAS in

            their water supply.

                    12.    Plaintiffs seek recovery from Defendants for injuries, damages, and losses

            suffered by the Plaintiffs as a result of exposure to the introduction of PFAS and other toxic

            substance into their water supply, and then into their properties and bodies, in an amount to be

            determined at trial, exclusive of interest, costs, and attorneys’ fees.

                                              JURISDICTION AND VENUE

                    13.    This Court has jurisdiction because Defendant Dynax Corporation’s principal

            place of business is located at 103 Fairview Park Drive, Elmsford, New York 10523.

                    14.    Venue is proper in this District under CPLR §503 (a) because the events,

            omissions and harms that are the basis of Plaintiffs claims occurred in substantial party in this

            District.

                    15.    This Court has personal jurisdiction over Defendants by virtue of each

            Defendants’ regular and systematic contacts with New York, including, among other things,

            purposefully marketing, selling and/or distributing their AFFF/Component Products to and

            within New York, and because they have the requisite minimum contacts with New York



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            necessary to constitutionally permit the Court to exercise jurisdiction over them consistent with

            traditional notions of fair play and substantial justice.

                                                          PARTIES

                    A.      Plaintiff

                    16.     Plaintiff Gregory Alford resides at 5830 D Bryant Ct, Fort Jackson, SC 29206.

            Plaintiff was formerly stationed at Fort Benning Fort Benning Fort Benning GA; Fort Bragg

            Soldier Support Center Normandy Dr. Fort Bragg NC; Fort Campbell 2601 Indiana Ave Fort

            Campbell KY; Fort Knox Bullion Blvd (Chaffee Gate) Fort Knox KY; Fort Rucker Novosel

            Street Building 5700 Fort Rucker AL; Fort Sill 4700 Mow-Way Road Fort Sill OK (hereinafter

            the “Site”) from 1973 to 1981 and was living on base at the Site during that time. While living on

            base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

            water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

            a result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Gregory Alford’s exposure, Plaintiff has been

            diagnosed with Diverticulitis, High Blood Pressure, High Cholesterol, Ulcerative Colitis.

                    17.     Plaintiff Curtis Anderson resides at 1515 Wingwilde Dr., Sandy Springs, GA

            30350. Plaintiff was formerly stationed at Camp Lejeune NC (hereinafter the “Site”) from 1978

            to 1979 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Curtis Anderson’s exposure, Plaintiff has been diagnosed with

            Liver Cancer.



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                    18.    Plaintiff Ronald Atwater resides at 91 Elm Street, Unit 424A, Manchester, CT

            06040-. Plaintiff was formerly stationed at 1330 Cannon Ave Seymour Johnson AFB Goldsboro

            NC; Seymour Johnson Air Force Base 1585 Andrews St. Seymour Johnson AFB NC (hereinafter

            the “Site”) from 1976 to 1978 and was living on base at the Site during that time. While living on

            base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

            water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

            a result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Ronald Atwater’s exposure, Plaintiff has

            been diagnosed with Thyroid Abnormality, Thyroid Disease.

                    19.    Plaintiff Wilfred Bachelder resides at 42 Avon Valley Rd., Avon, ME 04966-.

            Plaintiff was formerly stationed at Camp Lejeune; Public Affairs Office, PSC Box 20005 Camp

            Lejeune NC; Camp Lejeune PSC Box 20005 Camp Lejeune NC; Fort Bragg Fort Bragg NC;

            Fort Bragg Normandy Drive Fort Bragg NC; Marine Corps Parris Island 283 Blvd De France

            Parris Island SC; Parris Island Parris Island SC (hereinafter the “Site”) from 1998 to 2002 and

            was living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Wilfred Bachelder’s exposure, Plaintiff has been diagnosed with

            High Cholesterol, Hypothyroidism, Thyroid Cancer, Thyroid Disease.

                    20.    Plaintiff Vincent Barber resides at 236 N.E. Morris Rd., Lacy's Springs, AL

            35754. Plaintiff was formerly stationed at Camp Geiger Jacksonville NC; Camp Geiger Trailer

            Park Jacksonville NC; MCAS New River Jacksonville NC (hereinafter the “Site”) from 1970 to



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            1974 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Vincent Barber’s exposure, Plaintiff has been diagnosed with

            Lymphoma, Prostate Cancer.

                    21.    Plaintiff Misti Beach resides at 712 Fort Mandan Court, North Las Vegas, NV

            89081. Plaintiff was formerly stationed at Cherry Point Air Base Cherry Point NC; Columbus

            AFB Columbus MS; Edwards AFB Edwards CA (hereinafter the “Site”) from 1994 to 2009 and

            was living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Misti Beach’s exposure, Plaintiff has been diagnosed with

            Hyperthyroidism.

                    22.    Plaintiff James Beckles resides at 1729 Volvo Parkway, Chesapeake, VA 23320.

            Plaintiff was formerly stationed at Danang, Viet-Nam; 500 18th street Sanfrancisco CA; Army

            Suppy Depot Kaiserslautern, Germany; Camp Elmore Norfolk VA; Camp Elmore 1251 Yalu St

            Norfolk VA; Camp Lejeune PSC Box 20005 Camp Lejeune NC; Camp Lejuene Camp Lejuene

            NC; Fort McClellan Anniston AL; Iwakuni, Japan; Marine base Iwakuni, Japan; Marine Corps

            base Beaufort SC; MCRD Sandiego CA; Presidio of Sanfrancisco Sanfrancisco CA (hereinafter

            the “Site”) from 1969 to 1972 and was living on base at the Site during that time. While living on

            base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed



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            water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

            a result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff James Beckles’s exposure, Plaintiff has been

            diagnosed with High Cholesterol, Hyperthyroidism, Hypothyroidism, Prostate Cancer, Thyroid

            Disease.

                    23.    Plaintiff Juanita Blair resides at 441 Chestnut Ave, Trenton, NJ 08611-. Plaintiff

            was formerly stationed at 503 Lincoln Ave Trenton NJ; 55 Lincoln Ave Trenton NJ; 763

            Armistead St Pope AFB NC; 954 Lincoln Ave Trenton NJ; Kusan AFB, Korea (hereinafter the

            “Site”) from 1979 to 1987 and was living on base at the Site during that time. While living on

            base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

            water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

            a result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Juanita Blair’s exposure, Plaintiff has been

            diagnosed with Cancer.

                    24.    Plaintiff Robert Blakey resides at 212 Cropp Rd,, Fredericksburg, VA 22406.

            Plaintiff was formerly stationed at Andrew AFB MD; Ft. Belvoir VA; George AFB CA; Hill

            AFB UT; Seymour Johnson NC (hereinafter the “Site”) from 0 to 0 and was living on base at the

            Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

            daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

            been exposed for many years to PFAS as a result of the PFAS contamination at the Site,

            including at concentrations hazardous to their health. As a direct and proximate result of Plaintiff

            Robert Blakey’s exposure, Plaintiff has been diagnosed with Chronic Lymphocytic Leukemia,

            Leukemia.



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                    25.    Plaintiff Jim Blue Sr. resides at 716 South 6th Street, Hartsville, SC 29550.

            Plaintiff was formerly stationed at Camp Geiger TC, 754 8th St, Jacksonville NC; Camp Lejeune

            PSC Box 20005 Camp Lejeune NC; MCRD Parris Island 283 Blvd De France Parris Island SC

            (hereinafter the “Site”) from 1971 to 1973 and was living on base at the Site during that time.

            While living on base at the Site, Claimant was exposed to PFAS through daily activity and

            regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

            many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Jim Blue

            Sr.’s exposure, Plaintiff has been diagnosed with High Cholesterol, Prostate Cancer.

                    26.    Plaintiff Carlton Bost resides at 1000 Windsor Shores Dr, Apt 5A, Columbia, SC

            29223. Plaintiff was formerly stationed at Barksdale AFB Parish LA; England AFB Alexandria

            LA; Seymour Johnson AFB Wayne NC (hereinafter the “Site”) from 1986 to 1999 and was

            living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Carlton Bost’s exposure, Plaintiff has been diagnosed with

            Hypothyroidism.

                    27.    Plaintiff LaShanna Bowser resides at 4738 Hoagland Blackstub Rd., Courtland,

            OH 44410. Plaintiff was formerly stationed at 923 Chosin Reservoir Rd. (Marine Corps. Depot

            Parris Island) Parris Island SC; McHugh Blvd. (Camp Lejeune) Jacksonville NC; Unnamed Rd.

            (Marine Corps. Air Station El Toro) Irvine CA (hereinafter the “Site”) from 1992 to 1994 and

            was living on base at the Site during that time. While living on base at the Site, Claimant was



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            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff LaShanna Bowser’s exposure, Plaintiff has been diagnosed with

            Hypothyroidism.

                    28.    Plaintiff James Bretney resides at 12285 N Old Mill Pl, Marana, AZ 85653.

            Plaintiff was formerly stationed at Fort Benning Fort Benning GA; Fort Bragg AFB Fort Bragg

            NC; Fort Carson Fort Carson CO; Fort Jackson Fort Jackson LA (hereinafter the “Site”) from

            2000 to 2005 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff James Bretney’s exposure, Plaintiff has been diagnosed with

            Hyperthyroidism.

                    29.    Plaintiff Sandra Cannon-Austin resides at 24 Sundome Ct, Bluffton, SC 29909.

            Plaintiff was formerly stationed at Marines Rd Camp Lejeune NC (hereinafter the “Site”) from

            1973 to 1977 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Sandra Cannon-Austin’s exposure, Plaintiff has been diagnosed

            with Breast Cancer, Hyperthyroidism.




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                    30.    Plaintiff Gail Cargin resides at 1421 N 75th St, Philadelphia, PA 19151. Plaintiff

            was formerly stationed at MCAS Cherry Point 'C' Street, Building #1, 1st Avenue MCAS Cherry

            Poin NC; Philadelphia Naval Shipyard 4701 Intrepid Ave Philadelphia PA (hereinafter the

            “Site”) from 1972 to 1978 and was living on base at the Site during that time. While living on

            base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

            water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

            a result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Gail Cargin’s exposure, Plaintiff has been

            diagnosed with Ulcerative Colitis.

                    31.    Plaintiff Floyd Clontz resides at 242 Valhalla Dr., Harrisburg, NC 28075. Plaintiff

            was formerly stationed at 2300 Marlowe Ave Charlotte NC; 242 Valhalla Dr Harrisburg NC;

            3185 Patrick Henry Dr Concord NC; 998 Braxton Dr Concord NC; NAS Millington TN; NAS

            Norfolk VA; Unknown Orlando FL (hereinafter the “Site”) from 1984 to 1988 and was living on

            base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Floyd Clontz’s exposure, Plaintiff has been diagnosed with Testicular Cancer.

                    32.    Plaintiff Taylor Cobb resides at 11 Idlebrook, Fredericksburg, VA 22406.

            Plaintiff was formerly stationed at Camp Lejeune Camp Lejuene NC; Camp Lejeune PSC Box

            20005 Camp Lejeune NC (hereinafter the “Site”) from 1987 to 1992 and was living on base at

            the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.



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            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Taylor Cobb’s exposure, Plaintiff has been diagnosed with Kidney Cancer.

                    33.    Plaintiff Andreas Cramer von Clausbruch resides at 1444 Harmony Drive, Port

            Charlotte, FL 33952. Plaintiff was formerly stationed at 1526 Hurst Dr Ft Bragg Pope AFB Pope

            Field NC (hereinafter the “Site”) from 1983 to 1986 and was living on base at the Site during

            that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

            and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed

            for many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Andreas

            Cramer von Clausbruch’s exposure, Plaintiff has been diagnosed with Testicular Cancer.

                    34.    Plaintiff Dwight Crew resides at 257 Almon Dr., Augusta, GA 30907. Plaintiff

            was formerly stationed at Fort Bragg Normandy Dr. Fort Bragg NC; Fort Lee 2011 Mahone Ave

            Fort Lee VA; Ft Bragg 1526 Hurst Dr, Pope Field NC; Ft Lee VA (hereinafter the “Site”) from

            1976 to 1987 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Dwight Crew’s exposure, Plaintiff has been diagnosed with

            Prostate Cancer.

                    35.    Plaintiff Dominique Crisler resides at 3939 Skyview Dr., Apt. 12D, Jackson, MS

            39213. Plaintiff was formerly stationed at Camp Lejeune NC; Camp Lejeune PSC Box 20005

            Camp Lejeune NC (hereinafter the “Site”) from 1988 to 1992 and was living on base at the Site



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            during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

            activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

            exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Dominique

            Crisler’s exposure, Plaintiff has been diagnosed with Birth Defect, Spine Disorder.

                    36.    Plaintiff Robert Darling resides at 3696 8 Mile Rd. NW, Grand Rapids, MI

            49544. Plaintiff was formerly stationed at Fort Benning 1775 Legacy Way Fort Benning GA;

            Fort Benning 7117 Baltzell Avenue; Building 7 Fort Benning GA; Fort Bragg Normandy Dr.

            Fort Bragg NC; Fort Harrison 6000 N Post Rd Indianapolis IN; Fort Harrison 9120 Otis Ave #

            200 Indianapolis IN; Fort Knox Bullion Blvd (Chaffee Gate) Fort Knox KY; Ft Bragg Soldier

            Support Center; Building 4-2843 Normandy Street Fort Bragg NC (hereinafter the “Site”) from

            1977 to 1981 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Robert Darling’s exposure, Plaintiff has been diagnosed with

            Cancer, Colon Cancer.

                    37.    Plaintiff Wesley Darnell resides at 15 Blase Line Rd, Fairfield Bay, AR 72088.

            Plaintiff was formerly stationed at Colorado Springs; Fort Bragg Soldier Support Center;

            Building 4-2843 Normandy Street Fort Bragg NC; Fort Jackson 9810 Lee Road Fort Jackson SC;

            Fort McLellan 1023 Fort McClellan Anniston AL (hereinafter the “Site”) from 1983 to 1988 and

            was living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels



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            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Wesley Darnell’s exposure, Plaintiff has been diagnosed with

            Hyperthyroidism.

                    38.    Plaintiff Leonard Davis resides at 66 Park Side Cir., Willingboro, NJ 08046-.

            Plaintiff was formerly stationed at Camp Lejeune NC; Vietnam (hereinafter the “Site”) from

            1968 to 1972 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Leonard Davis’s exposure, Plaintiff has been diagnosed with

            High Cholesterol, Hypothyroidism, Thyroid Disease.

                    39.    Plaintiff Benjamin Dominguez resides at 2312 Saunders Ave, San Antonio, TX

            78207. Plaintiff was formerly stationed at Naval Air Station Albany GA Albany GA; Naval

            Hospital Camp Lejune, NC 100 Brewster Blvd Camp Lejeune NC; Us Naval Hospital Great

            Lake IL IL (hereinafter the “Site”) from 0 to 0 and was living on base at the Site during that

            time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

            regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

            many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Benjamin

            Dominguez’s exposure, Plaintiff has been diagnosed with High Blood Pressure, High

            Cholesterol.




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                    40.    Plaintiff Brian Drost resides at PO Box 102, Swifton, AR 72471. Plaintiff was

            formerly stationed at Camp Lejeune Camp Lejeune Blvd Jacksonville NC; Camp Lejeune PSC

            Box 20005 Camp Lejeune NC; Camp Lejeune Tarawa Terrace NC (hereinafter the “Site”) from

            1981 to 1982 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Brian Drost’s exposure, Plaintiff has been diagnosed with High

            Cholesterol, Testicular Cancer.

                    41.    Plaintiff William Forshee resides at 303 6th St, Goodman, WI 54125. Plaintiff

            was formerly stationed at Camp Lejeune Camp Lejeuene NC; Quantico AFB Quantico VA

            (hereinafter the “Site”) from 1984 to 1987 and was living on base at the Site during that time.

            While living on base at the Site, Claimant was exposed to PFAS through daily activity and

            regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

            many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff William

            Forshee’s exposure, Plaintiff has been diagnosed with Leukemia.

                    42.    Plaintiff Jerry Fryer resides at 117 Springhill Circle, Kingsland, GA 31548.

            Plaintiff was formerly stationed at 117Springhill Circle Kingsland GA; 22 Dixe Home USS John

            F. Kennedy Hazelhurst GA GA; Camp Lejeune 812 Holcomb Blvd Camp Lejeune NC;

            CAMPJEJUNE NAVY HOSPITAL JACKSONVILLE NC; MAYPORT SIMA MAYPORT FL,

            MAYPORT FL; USS CANPUS AS-34 Kingbay GA, Kingsbay GA, GA; USS John F Kennedy;

            USS JOHN F. KENNEDY CV67 NORFOLK VA (hereinafter the “Site”) from 1994 to 1998 and



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            was living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Jerry Fryer’s exposure, Plaintiff has been diagnosed with

            Lymphoma, Prostate Cancer.

                    43.    Plaintiff Danny Garcia resides at 8002 Palmetto Pl, San Antonio, TX 78254.

            Plaintiff was formerly stationed at Camp Lejeune 812 Holcomb Blvd Camp Lejeune NC; Camp

            Pendleton Building 20255T Oceanside CA; Okinawa, Iwakuni Building 1 PSC 561 Box

            1862Japan (hereinafter the “Site”) from 0 to 0 and was living on base at the Site during that time.

            While living on base at the Site, Claimant was exposed to PFAS through daily activity and

            regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

            many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Danny

            Garcia’s exposure, Plaintiff has been diagnosed with Breast Cancer.

                    44.    Plaintiff Earnest Hawkins Jr. resides at 533 Gay St., Apt B, Denton, MD 21629.

            Plaintiff was formerly stationed at Camp Lejeune PSC Box 20005 Camp Lejeune NC; Camp

            Lejuene Camp Lejuene NC; MCRD Paris Island 283 Blvd De France Parris Island SC; USS

            Dubuque; USS Saipan (hereinafter the “Site”) from 1982 to 1987 and was living on base at the

            Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

            daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

            been exposed for many years to PFAS as a result of the PFAS contamination at the Site,




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            including at concentrations hazardous to their health. As a direct and proximate result of Plaintiff

            Earnest Hawkins Jr.’s exposure, Plaintiff has been diagnosed with Prostate Cancer.

                    45.    Plaintiff Courtland Hayes resides at 196 N Creek Rd Orrum North Carolina,

            Orrum, NC 28369. Plaintiff was formerly stationed at 1202 E. 14th Street Lu,berton NC; 1406

            Willis Drive Lumberton NC; 1508 Jane Street Lumberton NC; 196 N Creek Rd Orrum, NC; 217

            W. 16th Street Lumberton NC; Sparkleberry Hill Camden SC; Yorktown Ave NAS Jacksonville

            Jacksonville FL (hereinafter the “Site”) from 1969 to 1973 and was living on base at the Site

            during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

            activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

            exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Courtland

            Hayes’s exposure, Plaintiff has been diagnosed with Prostate Cancer.

                    46.    Plaintiff Todd Hemming resides at 4230 E University Dr., Apt 118, Mesa, AZ

            85205. Plaintiff was formerly stationed at Dwight d Eisenhower CVN 69               --; Fort Bragg

            Building 4-2843 Normandy Street Fort Bragg NC; Fort Bragg Normandy Dr. Fort Bragg NC;

            German Base; Rhein Main AB -- Hesse -- (hereinafter the “Site”) from 1984 to 1996 and was

            living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Todd Hemming’s exposure, Plaintiff has been diagnosed with

            Thyroid Disease.




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                    47.    Plaintiff Thaddeus Hickman resides at 301 Sunset Dr. Apt 9, Fuquay-Varina, NC

            27526. Plaintiff was formerly stationed at Armed Forces Reserve Center -- Wilmington NC;

            Camp Lejeune 84 Holcomb Blvd. Marine and Family Programs Camp Lejeune NC; Camp

            Lejeune PSC Box 20005 Camp Lejeune NC; Cherry Point 'C' Street Building #1 1st Avenue

            MCAS Cherry Point NC; Marine Corps Base Cherry Point MCAS Cherry Point MCAS Cherry

            Point NC (hereinafter the “Site”) from 1985 to 1993 and was living on base at the Site during

            that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

            and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed

            for many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Thaddeus

            Hickman’s exposure, Plaintiff has been diagnosed with Ulcerative Colitis.

                    48.    Plaintiff Nicholas Hiddemen resides at 11707 Gardenglen Dr Houston, TX 77070,

            Houston, TX 77070. Plaintiff was formerly stationed at Cherry Point NC; 1st Avenue MCAS

            Cherry Point NC; NAB Little Creek VA bldg 3510 23459 2732, 1155 Nider Blvd Virginia Beach

            VA; New river NC PSC Box 21002 Jacksonville NC; Paris Island SC 283 Blvd De France Parris

            Island SC (hereinafter the “Site”) from 2004 to 2005 and was living on base at the Site during

            that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

            and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed

            for many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Nicholas

            Hiddemen’s exposure, Plaintiff has been diagnosed with Hashimotos Disease, Hyperthyroidism,

            Thyroid Disease.




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                    49.    Plaintiff Robert Holt resides at 1700 nance rd kingston, kingston, OK 73439.

            Plaintiff was formerly stationed at Chu Lai Air Base Tam Nghia, Nui Thanh District, Quang

            Nam Province Chu Lai --; Fort Bragg NC; Fort Bragg Building 4-2843, Normandy St Fort Bragg

            NC; Fort Carson 6001 Wetzel Ave Fort Carson CO; Fort Carson 6303 Wetzel Ave, Building

            #1526 Fort Carson CO; Fort Jackson MEPS 2435 Marion Ave Columbia SC; Fort Riley KS; Fort

            Riley 885 Henry Drive Fort Riley KS; Fort Sheridan IL; Fort Sheridan -- Fort Sheridan IL;

            FortJackson SC; Vietnam (hereinafter the “Site”) from 1970 to 1975 and was living on base at

            the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Robert Holt’s exposure, Plaintiff has been diagnosed with Ulcerative Colitis.

                    50.    Plaintiff Eric Hopkins resides at 742 Western Park Drive, Memphis, TN 38109.

            Plaintiff was formerly stationed at Camp Lejeune, NC Camp Lejeune NC; Camp Lejune NC.

            TC, 754 8th St, Jacksonville NC (hereinafter the “Site”) from 1985 to 1986 and was living on

            base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Eric Hopkins’s exposure, Plaintiff has been diagnosed with Bone Issues, Mental Illness,

            Neurological Problems, Prior Existing Condition - Exacerbation.

                    51.    Plaintiff Douglas Hughes resides at 444 Tennent Rd., Manalapan, NJ 07726-.

            Plaintiff was formerly stationed at Destroyer Squad Mayport FL; Fort Dix NJ; Fort Dix 2270



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            Fort Dix Rd JB MDL NJ; Little Creek Amphibious Base bldg 3510 23459 2732, 1155 Nider

            Blvd Virginia Beach VA; Marine Air Control Group 28 Cherry Point NC; Marine Corps Base

            Cherry Point MCAS Cherry Point MCAS Cherry Point NC; Marine Corps Logistics Base

            Albany 814 Radford Blvd, Suite 20306 Albany GA; Mayport Naval Base 1 Massey Ave

            Mayport FL; Mill Creek VA; Orlando Naval Base 12350 Research Pkwy Orlando FL;

            Philadelphia Naval Base PA; Philadelphia Naval Shipyard 4701 Intrepid Ave Philadelphia PA

            (hereinafter the “Site”) from 1982 to 2007 and was living on base at the Site during that time.

            While living on base at the Site, Claimant was exposed to PFAS through daily activity and

            regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

            many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Douglas

            Hughes’s exposure, Plaintiff has been diagnosed with Hyperthyroidism, Thyroid Disease.

                    52.    Plaintiff Timothy Hyde resides at 103 Timberline Drive, Winston-Salem, NC

            27101. Plaintiff was formerly stationed at Camp Lejeune 84 Holcomb Blvd.; Marine and Family

            Programs Camp Lejeune, NC; Camp Lejeune PSC Box 20005 Camp Lejeune NC (hereinafter

            the “Site”) from 1988 to 1991 and was living on base at the Site during that time. While living on

            base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

            water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

            a result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Timothy Hyde’s exposure, Plaintiff has been

            diagnosed with Thyroid Disease.

                    53.    Plaintiff John Hyland resides at 39 Blair Dr, Rochester, NH 03868-. Plaintiff was

            formerly stationed at 39 Blair Drive Rochester NH; 6 Cheryl Ann Drive Rutland MA; Camp



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            Geiger; Camp Lejeune 84 Holcomb Blvd.Marine and Family Programs Camp Lejeune NC;

            MCAS beaufort; MCAS beaufort SC; MCAS El Toro santa ana CA; MCAS Iwakuni Japan;

            NAS Atsugi Japan; NAS Jacksonville; Parris Island SC (hereinafter the “Site”) from 0 to 1955

            and was living on base at the Site during that time. While living on base at the Site, Claimant

            was exposed to PFAS through daily activity and regularly consumed water containing elevated

            levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff John Hyland’s exposure, Plaintiff has been diagnosed with Kidney

            Cancer.

                    54.    Plaintiff Enrique Iglesias resides at 18411 West Santa Irene Dr, Goodyear, AZ

            85338. Plaintiff was formerly stationed at Camp Lejeune 84 Holcomb Blvd.; Marine and Family

            Programs Camp Lejeune NC; Camp Lejeune 84 Holcomb Blvd. Camp Lejeune NC (hereinafter

            the “Site”) from 1959 to 1964 and was living on base at the Site during that time. While living on

            base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

            water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

            a result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Enrique Iglesias’s exposure, Plaintiff has

            been diagnosed with High Blood Pressure, High Cholesterol.

                    55.    Plaintiff Franklin Jenkins resides at 1751 Empress Lane, Fayetteville, NC 28304.

            Plaintiff was formerly stationed at Camp Lejeune 84 Holcomb Blvd.; Marine and Family

            Programs Jacksonville NC; Camp Lejeune PSC Box 20005 Camp Lejeune NC (hereinafter the

            “Site”) from 1996 to 2002 and was living on base at the Site during that time. While living on

            base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed



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            water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

            a result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Franklin Jenkins’s exposure, Plaintiff has

            been diagnosed with Myeloma.

                    56.    Plaintiff Michael P. Johnson resides at 3803 Terka Circle, Randallstown, MD

            21133. Plaintiff was formerly stationed at Camp Lejeune PSC Box 20005 Camp Lejeune NC;

            Camp Lejuene Jacksonville NC; Great Lakes NAS Great Lakes IL; Great Lakes Naval Station

            2601E Paul Jones St Great Lakes IL; NAS Patuxent River 47123 Buse Rd #540 Patuxent River

            MD; Patuxent River NAS Lexington Park MD (hereinafter the “Site”) from 1978 to 1982 and

            was living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Michael P. Johnson’s exposure, Plaintiff has been diagnosed with

            Bladder Cancer.

                    57.    Plaintiff Beverly Kindred Jr resides at 1202 Lonesome Pine Rd., Phenix City, AL

            36869. Plaintiff was formerly stationed at Camp Casey Building #S-2236, APO AP --; Fort

            Bragg Normandy Drive Fort Bragg NC; Fort Stewart Memorial Drive Hinesville GA; FT Bragg

            NC; FT Stewart GA; Korea (hereinafter the “Site”) from 1983 to 1992 and was living on base at

            the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the




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            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Beverly Kindred Jr’s exposure, Plaintiff has been diagnosed with Prostate Cancer.

                    58.    Plaintiff Marvin Knight resides at 19 Private Rd., Apt. 504, Bay City, TX 77414.

            Plaintiff was formerly stationed at Aberdeen Proving (3 months); Aberdeen Proving Ground

            2201 Aberdeen Boulevard Aberdeen Proving Ground MD; Camp Lejeune (2-3 months); Camp

            Lejeune (6-8 months); Camp Lejeune PSC Box 20005 Camp Lejeune NC; Unknown New River

            NC (hereinafter the “Site”) from 1974 to 1977 and was living on base at the Site during that

            time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

            regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

            many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Marvin

            Knight’s exposure, Plaintiff has been diagnosed with Cancer, Colon Cancer.

                    59.    Plaintiff Terrence Knowles resides at 4010 S.W. 30th Terr., Gainsville, FL 32608.

            Plaintiff was formerly stationed at Camp Lejeune NC; Marine Base Millington TN; NAS

            Jacksonville FL; Parris Island SC (hereinafter the “Site”) from 1970 to 1978 and was living on

            base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Terrence Knowles’s exposure, Plaintiff has been diagnosed with Cancer.

                    60.    Plaintiff Chaz Knox resides at 3200 Payne Ave, Apt 326, San Jose, CA 95117.

            Plaintiff was formerly stationed at Camp Lejune 812 Holcomb Blvd Camp Lejeune NC; Camp

            Pendleton Building 13150; Camp Pendleton Marine Corps Base CA (hereinafter the “Site”) from



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            0 to 0 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Chaz Knox’s exposure, Plaintiff has been diagnosed with High

            Blood Pressure, High Cholesterol, Pregnancy Problems.

                    61.    Plaintiff Clifford Lewis resides at 5719 E 141st St, Maple Heights, OH 44137.

            Plaintiff was formerly stationed at Chanute AFB IL; Lackland AFB TX; Seymour Johnson AFB

            NC (hereinafter the “Site”) from 0 to 0 and was living on base at the Site during that time. While

            living on base at the Site, Claimant was exposed to PFAS through daily activity and regularly

            consumed water containing elevated levels of PFAS. Claimant has been exposed for many years

            to PFAS as a result of the PFAS contamination at the Site, including at concentrations hazardous

            to their health. As a direct and proximate result of Plaintiff Clifford Lewis’s exposure, Plaintiff

            has been diagnosed with Prostate Cancer.

                    62.    Plaintiff Jeffrey Mack resides at N30W23516 Greenfield Ct, APT B, Pewaukee,

            WI 53072. Plaintiff was formerly stationed at Army Reserve Units 2111 South 8th Avenue Fort

            McCoy WI; Army Reserve Units 619 W Wisconsin Ave Pewaukee WI; Fort Benjamin Harris

            8899 E 56th St Indianapolis IN; Fort Bragg AFB Building 4-2843 Normandy Street Fort Bragg

            NC; U.S. Army Recruiting Station 11425 W. Lake Park Drive Milwaukee WI; US Army

            Reserve IL (hereinafter the “Site”) from 1979 to 2016 and was living on base at the Site during

            that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

            and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed

            for many years to PFAS as a result of the PFAS contamination at the Site, including at



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            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Jeffrey

            Mack’s exposure, Plaintiff has been diagnosed with Breast Cancer, Kidney Disease.

                    63.    Plaintiff James Malone resides at 3850 North 13 Street, 1st Floor, Philadelphia,

            PA 19140. Plaintiff was formerly stationed at 1231 Birch St, Camp Lejeune NC; Camp Lejeune

            PSC Box 20005 Camp Lejeune NC (hereinafter the “Site”) from 1978 to 1983 and was living on

            base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff James Malone’s exposure, Plaintiff has been diagnosed with Lymphoma.

                    64.    Plaintiff Audrey McGahey resides at 2206 W Main St., Lavaca, AR 72941.

            Plaintiff was formerly stationed at Camp Lejeune PSC Box 20005 Camp Lejeune NC; NAS

            Jacksonville FL; NAS Jacksonville 6801 Roosevelt Blvd Jacksonville FL; NAS Mid South TN;

            NAS Millington 7700 Hornet Ave Millington TN; NAS Orlando - Boot Camp FL; Naval Base

            Portsmouth VA; Naval Base Portsmouth 4000 Coast Guard Blvd Portsmouth VA; Orlando Naval

            Base 12350 Research Pkwy Orlando FL (hereinafter the “Site”) from 1987 to 1996 and was

            living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Audrey McGahey’s exposure, Plaintiff has been diagnosed with

            Breast Cancer, Cancer, Diabetes.




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                    65.    Plaintiff Bryan McGahey resides at 2206 W. Maine St., Lavaca, AR 72941.

            Plaintiff was formerly stationed at 38054, 5722 Integrity Dr NAS Mid-South Millington TN; 530

            Farragut Ave USO of Illinois Great Lakes Center Great Lakes IL; 919 NAS Jacksonville

            Jacksonville FL; Awase USN Awase Okinawa JPN; Birch St Camp Lejeune NC; Camp Lejeune

            PSC Box 20005 Camp Lejeune NC; Great Lakes Naval Base              IL; Kadena Air Base Higashi,

            Kadena, Nakagami District Okinawa 904-0200 --; NAS Jacksonville 6801 Roosevelt Blvd

            Jacksonville FL; Naval Base Millington 7698 Hornet Ave Millington TN; Subic Bay -- Subic

            Bay -- (hereinafter the “Site”) from 1988 to 1988 and was living on base at the Site during that

            time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

            regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

            many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Bryan

            McGahey’s exposure, Plaintiff has been diagnosed with Cancer, High Blood Pressure, Throat

            Cancer.

                    66.    Plaintiff Mark Millar resides at 3605 Giblin Dr, Northport, FL 34286. Plaintiff

            was formerly stationed at 1100 Jetport Rd Myrtle Beach AFB Myrtle Beach SC; 1330 Cannon

            Ave Seymour Johnson AFB Goldsboro NC; 210 Sweeney Blvd Langley AFB Hampton VA; 832

            Nighthawk Ave Holloman AFB NM (hereinafter the “Site”) from 1978 to 1998 and was living

            on base at the Site during that time. While living on base at the Site, Claimant was exposed to

            PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Mark Millar’s exposure, Plaintiff has been diagnosed with Myeloma.



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                    67.    Plaintiff Tom Moore resides at 2041 Wedzewood             Ln, Herbon, KY 41049.

            Plaintiff was formerly stationed at Fort Benning ft Bennin GA; Fort Bragg Ft Bragg NC; Ft

            McClon Anniston Al (hereinafter the “Site”) from 1994 to 1999 and was living on base at the

            Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

            daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

            been exposed for many years to PFAS as a result of the PFAS contamination at the Site,

            including at concentrations hazardous to their health. As a direct and proximate result of Plaintiff

            Tom Moore’s exposure, Plaintiff has been diagnosed with Kidney Disease.

                    68.    Plaintiff Brazier Morton jr. resides at 2029 s 22nd avenue, Broadview, IL 60155.

            Plaintiff was formerly stationed at Camp Lejuene 84 Holcomb Blvd.; Marine and Family

            Programs Camp Lejeune NC; Camp Pendleton Building 13150 Camp Pendleton Marine Corps

            Base CA; MCRD San Diego 4025 Tripoli Avenue; Personal &amp; Professional Development;

            Bldg. 14 San Diego CA (hereinafter the “Site”) from 0 to 0 and was living on base at the Site

            during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

            activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

            exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Brazier

            Morton jr.’s exposure, Plaintiff has been diagnosed with High Blood Pressure, High Cholesterol,

            Pregnancy Problems.

                    69.    Plaintiff Robert Mullen resides at 16474 Jefferson Oaks Drive, Prarie Ville, LA

            76069. Plaintiff was formerly stationed at Fort Bragg Soldier Support Center Building 4-2843

            Normandy Street Fort Bragg NC; Fort Jackson 9810 Lee Road Fort Jackson SC (hereinafter the

            “Site”) from 1973 to 1976 and was living on base at the Site during that time. While living on



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            base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

            water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

            a result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Robert Mullen’s exposure, Plaintiff has been

            diagnosed with High Cholesterol, Prostate Cancer.

                    70.    Plaintiff Thomas NeSmith resides at 1805 S. Vine St., Wichita, KS 67213.

            Plaintiff was formerly stationed at 111 Khedive Maize KS; 1604 S Water Wichita KS; 708

            Eastridge Wichita KS; Camp Lejeune NC; Camp Lejuene Holcomb Blvd Camp Lejuene NC;

            Corri Station FL; Corry Station 640 Roberts Ave Pensacola FL; Japan; n/a Houston TX; Torii

            Station Yomitan Okinawa Japan -- (hereinafter the “Site”) from 1980 to 1984 and was living on

            base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Thomas NeSmith’s exposure, Plaintiff has been diagnosed with High Blood Pressure,

            High Cholesterol, Kidney Cancer.

                    71.    Plaintiff Ronold Olson resides at 1185 Marsealle Dr, apt 102, Miami Beach, FL

            33141. Plaintiff was formerly stationed at 1185 Marseille drive Miami Beach FL; 16948 Tudor

            Way Fontana CA; 4185 Driver Lan Temecula CA; 727 S Coronado St Apt 202 Los Angeles CA;

            Camp Johnson Jacksonville FL; Camp Lejeune PSC Box 20005 Camp Lejeune NC; Cherry

            Point NC; Japan -- Okanoa --; Marine Corps Air Station Cherry Point MCAS Cherry Point

            MCAS Cherry Point NC; Okanoa, Japan (hereinafter the “Site”) from 1998 to 2002 and was

            living on base at the Site during that time. While living on base at the Site, Claimant was



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            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Ronold Olson’s exposure, Plaintiff has been diagnosed with Kidney

            Cancer, Renal Cell Carcinoma.

                    72.    Plaintiff David Pappas resides at 5636 W Circle Z St, Lot 6 - 497, Tucson, AZ

            85713. Plaintiff was formerly stationed at Fort Benning 7117 Baltzell Avenue; Building 7 Ft

            Benning GA; Fort Bragg Soldier Support Center; Building 4-2843 Normandy Street Fort Bragg

            NC; Fort Leonard Replacement Avenue; Relocation Readiness Rm 118; Building 486 Fort

            Leonard Wood MO; Fort Sill B4700 Mow-Way Road Ft Sill OK (hereinafter the “Site”) from

            1973 to 1975 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff David Pappas’s exposure, Plaintiff has been diagnosed with

            Non-Hodgkins Lymphoma.

                    73.    Plaintiff Kayla Parrish resides at 7474 Hwy 122 E, Ray City, GA 31645. Plaintiff

            was formerly stationed at Effie-Warren AFB 7601 Randall Avenue, Bldg. 207 F.E. Warren AFB

            WY; Fort Bragg Soldier Support Center Building 4-2843 Normandy Street Fort Bragg NC;

            Moody AFB 9320 Davidson Road Building #16 Moody AFB GA (hereinafter the “Site”) from

            1991 to 2016 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the



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            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Kayla Parrish’s exposure, Plaintiff has been diagnosed with

            Birth Defect, Miscarriage.

                    74.    Plaintiff Brian Polkinghorne resides at PO Box 541, Ishpeming, MI 49849.

            Plaintiff was formerly stationed at MCB Camp Lejeune Camp Lejeun NC; MCB Camp

            Pendleton Pendleton CA; MCB Camp Penleton Pendleton CA; MCRD Parris Island Parris Island

            SC (hereinafter the “Site”) from 1970 to 1971 and was living on base at the Site during that time.

            While living on base at the Site, Claimant was exposed to PFAS through daily activity and

            regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

            many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Brian

            Polkinghorne’s exposure, Plaintiff has been diagnosed with Asthma, Cancer.

                    75.    Plaintiff Christine Pollakis, as Executor of the estate of Edward Pollakis resided at

            405 Melvin Avenue, Glendora, NJ 08029-. Plaintiff was formerly stationed at 405melvin ave

            Glendora NJ; Camp Lejeune Jacksonville NC (hereinafter the “Site”) from 1966 to 1968 and was

            living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Christine Pollakis, as Executor of the estate of Edward Pollakis’s

            exposure, Plaintiff has been diagnosed with Bladder Cancer.

                    76.    Plaintiff Jay T. Potter resides at 90 E. 600 S. Apt. #110, Salt Lake City, UT

            84111. Plaintiff was formerly stationed at Ft. Jackson SC; Broidy Rd Fort Dix NJ; Germany DE;



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            Lumpkin Rd Fort Benning GA; Sicily Dr B Fort Bragg NC (hereinafter the “Site”) from 1975 to

            1976 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Jay T. Potter’s exposure, Plaintiff has been diagnosed with

            Cancer.

                    77.    Plaintiff Darrell Rainwater resides at 22 Meadow Rose Dr, Travelers Rest, SC

            29690. Plaintiff was formerly stationed at Camp Lejeune 84 Holcomb Blvd. Marine and Family

            Programs Camp Lejeune NC (hereinafter the “Site”) from 1975 to 1976 and was living on base

            at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Darrell Rainwater’s exposure, Plaintiff has been diagnosed with Non-Hodgkins

            Lymphoma.

                    78.    Plaintiff Beverly Reed resides at 250 S Sage Ave., Apt G227, Mobile, AL 36606.

            Plaintiff was formerly stationed at Fairchild AFB 300 N Short t Fairchild WA; Iceland AFB

            Iceland; Incirlik Air Base Turkey; Lackland AFB San Antonio TX; Lowry AFB Denver CO;

            Seymour Johnson AFB 1330 Cannon Avenue Goldsboro NC (hereinafter the “Site”) from 1976

            to 1993 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the



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            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Beverly Reed’s exposure, Plaintiff has been diagnosed with

            Hyperthyroidism, Thyroid Disease.

                    79.    Plaintiff Donald Reese resides at 8 Hummingbird Lane, Fredericktown, MO

            63645. Plaintiff was formerly stationed at 1212 Bel Aire Drive Belleville IL; 1230 S. Jefferson

            Millstadt IL; 343 Coppice Place Bossier City LA; 343 Windridge Ct Sherwood AR; 5200

            Bandberry Ave Sioux Falls SD; 7718 Jefferson Road Belleville IL; 8 Birdie Drive Dell Rapids

            SD; 8 greenfield Place Ofallon IL; 8 Hummingbird Lane Fredericktown MO; 8650 Rock Creek

            Road Fredericktown MO; buzzard rock road Farmington MO; Fort Bragg 612th QM Co. Fort

            Bragg NC (hereinafter the “Site”) from 1970 to 1972 and was living on base at the Site during

            that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

            and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed

            for many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Donald

            Reese’s exposure, Plaintiff has been diagnosed with Skin Cancer.

                    80.    Plaintiff Joseph Relaford resides at 503 Lucia Ave, Baltimore, MD 21229.

            Plaintiff was formerly stationed at Camp Hansen Okinawa Japan; MCB Camp Lejeune Camp

            Lejeune NC; MCB Camp Pendleton Pendleton CA; MCRD Parris Island Parris Island SC

            (hereinafter the “Site”) from 0 to 0 and was living on base at the Site during that time. While

            living on base at the Site, Claimant was exposed to PFAS through daily activity and regularly

            consumed water containing elevated levels of PFAS. Claimant has been exposed for many years

            to PFAS as a result of the PFAS contamination at the Site, including at concentrations hazardous




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            to their health. As a direct and proximate result of Plaintiff Joseph Relaford’s exposure, Plaintiff

            has been diagnosed with Testicular Cancer.

                    81.    Plaintiff Stephen Rice resides at 70 Warren Ave Building A # 8, Woburn, MA

            01801-. Plaintiff was formerly stationed at 33 Buckman st. Woburn MA; 9000 Kinsman Drive

            Fort Benning GA; Fort Bragg FORT BRAGG NC; Fort Lee AIT VA; FORT LEONARD

            WOOD Pulaski MO (hereinafter the “Site”) from 1981 to 1984 and was living on base at the Site

            during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

            activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

            exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Stephen

            Rice’s exposure, Plaintiff has been diagnosed with Kidney Cancer, Thyroid Cancer.

                    82.    Plaintiff Chester Rushing Jr. resides at 1108 Riverside Rd., Roanoke, TX 76262.

            Plaintiff was formerly stationed at Bell Chase LA; Camp Lejeune NC (hereinafter the “Site”)

            from 1973 to 1976 and was living on base at the Site during that time. While living on base at the

            Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

            containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a

            result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Chester Rushing Jr.’s exposure, Plaintiff has

            been diagnosed with Liver Cancer.

                    83.    Plaintiff Nathan Saine resides at 272 Loroce Lane, Memphis, TN 38117. Plaintiff

            was formerly stationed at Camp LeJeune NC; Camp Lejeune PSC Box 20005 Camp Lejeune

            NC; Great Lakes Naval Base; Great Lakes Naval Station 3355 Illinois St North Chicago IL;

            Naval Air Station Millington; Naval Base Millington 7698 Hornet Ave Millington TN



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            (hereinafter the “Site”) from 1991 to 1994 and was living on base at the Site during that time.

            While living on base at the Site, Claimant was exposed to PFAS through daily activity and

            regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

            many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Nathan

            Saine’s exposure, Plaintiff has been diagnosed with Prostate Cancer.

                    84.    Plaintiff Charles Sawhill resides at 110 St John St, Midway, PA 15060. Plaintiff

            was formerly stationed at Camp Lejeune 84 Holcomb Blvd.; Marine and Family Programs Camp

            Lejeune NC; Camp Pendleton Building 13150; Camp Pendleton Marine Corps Base CA; Parris

            Island 283 Blvd De France Parris Island SC (hereinafter the “Site”) from 1966 to 1969 and was

            living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Charles Sawhill’s exposure, Plaintiff has been diagnosed with High

            Cholesterol.

                    85.    Plaintiff Andrew Alan Short resides at 9027 Ambridge Lane, Kernersville, NC

            27284-. Plaintiff was formerly stationed at 2832 Thomasville Rd. Salem NC; Joint Base

            Langley-Eustis 210 Sweeney Blvd Hampton VA; Joint Base Langly-Eustis VA (hereinafter the

            “Site”) from 1998 to 2002 and was living on base at the Site during that time. While living on

            base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

            water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

            a result of the PFAS contamination at the Site, including at concentrations hazardous to their



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            health. As a direct and proximate result of Plaintiff Andrew Alan Short’s exposure, Plaintiff has

            been diagnosed with Kidney Cancer.

                    86.    Plaintiff Marshall W. Simmons resides at 473 candies mountain road, Riverton,

            WV 26814. Plaintiff was formerly stationed at Camp Lejeune 84 Holcomb Blvd. Marine and

            Family Programs Camp Lejeune NC (hereinafter the “Site”) from 0 to 0 and was living on base

            at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Marshall W. Simmons’s exposure, Plaintiff has been diagnosed with Autoimmune

            Disorders, Cardiac Problems, Colon Cancer, Digestive Problems, Fainting.

                    87.    Plaintiff AJ Stabler resides at 2600 Duff Road, Brent, AL 35034. Plaintiff was

            formerly stationed at Camp Lejune NC (hereinafter the “Site”) from 0 to 0 and was living on

            base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff AJ Stabler’s exposure, Plaintiff has been diagnosed with High Blood Pressure, High

            Cholesterol, Ulcerative Colitis.

                    88.    Plaintiff Charles Stoll resides at 123 Mearns Ave., Highland Falls, NY 10928.

            Plaintiff was formerly stationed at Camp Geiger NC; camp Hanson; Camp Hanson (Japan);

            Camp Lejeune NC; MCAS Kaneohe Bay MCBH Kaneohe Bay -- HI (hereinafter the “Site”)

            from 1983 to 1986 and was living on base at the Site during that time. While living on base at the



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            Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

            containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a

            result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Charles Stoll’s exposure, Plaintiff has been

            diagnosed with Anemia, Autoimmune Disorders, Hashimotos Disease, High Cholesterol,

            Hypothyroidism, Thyroid Disease, Ulcerative Colitis.

                    89.    Plaintiff James Sydnor resides at 8854 Thornton town place, Raleigh, NC 27616.

            Plaintiff was formerly stationed at Baumholder Germany; Fort Bragg 4700 Knox St Fort Bragg

            NC; Fort Knox 411 Eisenhower Avenue; Building 1477 KY; Ft. Sill 3965 Cannoneer Field Rd

            Fort Sill, OK; Kyind Saudi Arabia (hereinafter the “Site”) from 0 to 0 and was living on base at

            the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff James Sydnor’s exposure, Plaintiff has been diagnosed with High Blood Pressure, High

            Cholesterol, Skin Rashes, Itches, Fungus, Lesions, Ulcerative Colitis.

                    90.    Plaintiff Timoteo Villasana resides at 5920 Daly Dr., Austin, TX 78747. Plaintiff

            was formerly stationed at Fort Bragg Air Force Base Soldier Support Center; Building 4-2843

            Normandy Street Ft Bragg NC (hereinafter the “Site”) from 1997 to 2000 and was living on base

            at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of



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            Plaintiff Timoteo Villasana’s exposure, Plaintiff has been diagnosed with Hyperthyroidism,

            Thyroid Disease.

                    91.    Plaintiff Sam Vitrano resides at 1023 Field Street NW, Canton, OH 44709.

            Plaintiff was formerly stationed at Maine Corps Base Camp Lejeune Camp Lejeune NC

            (hereinafter the “Site”) from 1975 to 1977 and was living on base at the Site during that time.

            While living on base at the Site, Claimant was exposed to PFAS through daily activity and

            regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

            many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Sam

            Vitrano’s exposure, Plaintiff has been diagnosed with Chronic Lymphocytic Leukemia,

            Diabetes.

                    92.    Plaintiff Lisa Scroggins, as Personal Representative of the estate of Ben Ward

            resided at 1711 N. Autumn Ln., Peoria, IL 61604-. Plaintiff was formerly stationed at Camp

            Lejeune; Camp Lejeune PSC Box 20005 Camp Lejeune NC (hereinafter the “Site”) from 1971 to

            1973 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Lisa Scroggins, as Personal Representative of the estate of Ben

            Ward’s exposure, Plaintiff has been diagnosed with Cancer, Colon Cancer.

                    93.    Plaintiff Kimberly Warren, as Personal Representative of the estate of Dan

            Warren resided at 111 Goshen Crt, Brandon, MI 39047-. Plaintiff was formerly stationed at

            Gulick Ave Fort Stewart GA; Normady Dr Fort Bragg NC (hereinafter the “Site”) from 1973 to



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            1984 and was living on base at the Site during that time. While living on base at the Site,

            Claimant was exposed to PFAS through daily activity and regularly consumed water containing

            elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

            PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

            and proximate result of Plaintiff Kimberly Warren, as Personal Representative of the estate of

            Dan Warren’s exposure, Plaintiff has been diagnosed with Pancreatic Cancer.

                    94.    Plaintiff Edwin Waters resides at 675 Gilbert Street, Eugene, OR 97402. Plaintiff

            was formerly stationed at Fort Bragg AFB, NC (hereinafter the “Site”) from 1990 to 2000 and

            was living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Edwin Waters’s exposure, Plaintiff has been diagnosed with

            Ulcerative Colitis.

                    95.    Plaintiff Charles Webb resides at 848 Greenbriar Rd, Talbott, TN 37887. Plaintiff

            was formerly stationed at 1215 Evans Valley Way Newport TN; 1911 Alcorn Dr Jefferson City

            TN; 4th Street Newport TN; 581 Old Stage Rd Dandridge TN; 8176 West Point Dr Talbott TN;

            848 Greenbriar Rd Talbott TN; Junior Williams Rd Dandridge TN; Maple St White Pine TN;

            MCAS Cherry Point; 1st Avenue MCAS Cherry Point NC; MCAS Cherry Point C Street

            Building #1, 1st Avenue MCAS Cherry Point NC; NAS 7698 Hornet Ave Millington TN; NAS

            Millington 7700 Hornet Ave Millington TN; Parris Island Parris Island SC (hereinafter the

            “Site”) from 1983 to 1983 and was living on base at the Site during that time. While living on

            base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed



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            water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

            a result of the PFAS contamination at the Site, including at concentrations hazardous to their

            health. As a direct and proximate result of Plaintiff Charles Webb’s exposure, Plaintiff has been

            diagnosed with Leukemia.

                    96.    Plaintiff Michelle Wegner, as Personal Representative of the estate of Steven

            Wegner resided at 114174 North 3720 Rd, Okemah, OK 74859-. Plaintiff was formerly stationed

            at Ft Bragg NC; Ft Riley KS (hereinafter the “Site”) from 1983 to 1984 and was living on base at

            the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Michelle Wegner, as Personal Representative of the estate of Steven Wegner’s

            exposure, Plaintiff has been diagnosed with Pancreatic Cancer.

                    97.    Plaintiff Anthony Welborn resides at 1759 Iroquois Dr., Apopka, FL 32703.

            Plaintiff was formerly stationed at 1759 Iroquois Dr FL; 4104 ellis dr orlando FL; 655 encino

            way altamonte springs FL; Marine Corps Air Station New River Curtis Rd Jacksonville NC;

            New River Base Jacksonville NC (hereinafter the “Site”) from 1988 to 1993 and was living on

            base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Anthony Welborn’s exposure, Plaintiff has been diagnosed with High Cholesterol,

            Ulcerative Colitis.



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                    98.    Plaintiff Paul Welch, as Personal Representative of the estate of Edwin Welch

            resided at 4633 Pine Hollow Dr, Wilmington, NC 28412. Plaintiff was formerly stationed at

            Eglin AFB FL; Eglin AFB 2591 Eglin Boulevard Eglin Air Force Base FL; Fort Poke AFB NC;

            Fort Polk 1591 Bell Richard Ave Fort Polk LA; Joint Base San Antonio; Lackland San Antonio

            TX; Kunsan Air BAse Seonyeon-ri, Okseo-myeon, Gunsan0Si Jeollabuk-Do --; Kunsan, South

            Korea AFB; Lackland Air Force Base 2292 JBSA-Lackland Lackland AFB TX; Lowery AFB

            CO; Lowry AFB -- Lowry AFB CO; RAF Upper Heyford -- Oxfordshire --; RAF Upper Heyford

            UK; Saudi Arabia AFB (hereinafter the “Site”) from 1991 to 2000 and was living on base at the

            Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

            daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

            been exposed for many years to PFAS as a result of the PFAS contamination at the Site,

            including at concentrations hazardous to their health. As a direct and proximate result of Plaintiff

            Paul Welch, as Personal Representative of the estate of Edwin Welch’s exposure, Plaintiff has

            been diagnosed with Hypothyroidism, Thyroid Disease.

                    99.    Plaintiff Katherine West resides at 5371 Grant St, Merriville, IN 46410. Plaintiff

            was formerly stationed at 1034 Schultz Pl Fort Eustace Newport News VA; Normandy Dr Fort

            Bragg NC (hereinafter the “Site”) from 2005 to 2009 and was living on base at the Site during

            that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

            and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed

            for many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff Katherine

            West’s exposure, Plaintiff has been diagnosed with High Blood Pressure, Hyperthyroidism.




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                    100.   Plaintiff Richard Wilder resides at 18 Gunner Ln., Willingboro, NJ 08046-.

            Plaintiff was formerly stationed at 18 gunner Lane Willingboro NJ; Fort Bragg Fayetteville NC;

            Fort Bragg Normandy Dr. Fort Bragg NC (hereinafter the “Site”) from 1971 to 1973 and was

            living on base at the Site during that time. While living on base at the Site, Claimant was

            exposed to PFAS through daily activity and regularly consumed water containing elevated levels

            of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

            contamination at the Site, including at concentrations hazardous to their health. As a direct and

            proximate result of Plaintiff Richard Wilder’s exposure, Plaintiff has been diagnosed with

            Pancreatic Cancer.

                    101.   Plaintiff James Wilmore resides at 640 East Elm St, Tuscon, AZ 85705-. Plaintiff

            was formerly stationed at 1050 East 27th St Tuscon AZ; 411 E 29th St Apt 317 Tuscon AZ; 640

            East elm St Tuscon AZ; Camp Lejeune NC; Camp Lejeune PSC Box 20005 Camp Lejeune NC

            (hereinafter the “Site”) from 1976 to 1979 and was living on base at the Site during that time.

            While living on base at the Site, Claimant was exposed to PFAS through daily activity and

            regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

            many years to PFAS as a result of the PFAS contamination at the Site, including at

            concentrations hazardous to their health. As a direct and proximate result of Plaintiff James

            Wilmore’s exposure, Plaintiff has been diagnosed with Hypertension, Hypothyroidism, Prostate

            Cancer, Thyroid Cancer, Thyroid Disease.

                    102.   Plaintiff Kenneth Wilson resides at 12 SW 102 St., Oklahoma City, OK 73139.

            Plaintiff was formerly stationed at Camp Lejeune 84 Holcomb Blvd. Camp Lejeune NC; Fort Sil

            B4700 Mow-Way Road Fort Sill OK; Hawaii, Otway Bay Otway Bay HI; Quanico 3019 Embry

            Loop; Marine Corps Base Quantico VA; Recruiting duty, Petersburg Petersburgh VA; Reserves



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            Joliet 2711 McDonough St Joliet IL (hereinafter the “Site”) from 1983 to 2004 and was living on

            base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

            through daily activity and regularly consumed water containing elevated levels of PFAS.

            Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

            Site, including at concentrations hazardous to their health. As a direct and proximate result of

            Plaintiff Kenneth Wilson’s exposure, Plaintiff has been diagnosed with High Cholesterol,

            Pancreatic Cancer, Stroke.

                    103.   Personnel at the Site stored, handled, used, trained with, tested equipment with,

            otherwise discharged AFFF products in their facility, therefore contaminating groundwater

            supplies in the vicinity of the base.

                    104.   Plaintiffs have been exposed to PFAS, have elevated levels of these contaminants

            in their blood, and are at an increased risk of health effects, changes in thyroid hormone, kidney

            cancer, and other autoimmune diseases.

                    105.   Plaintiffs have a legitimate fear of developing additional injuries as a result of

            their exposure to PFAS, including but not limited to effects on the liver and immune system,

            high cholesterol levels, changes in thyroid hormone, kidney cancer and other autoimmune

            diseases.

                    B.     Defendants

                    106.   The term “Defendants” refers to all Defendants named herein jointly and

            severally.

                              i.   The AFFF Defendants

                    107.   The term “AFFF Defendants” refers collectively to Defendants 3M Company,

            Angus International Safety Group, Ltd., Amerex Corporation, Buckeye Fire Equipment

            Company, Carrier Global Corporation, Central Sprinkler, LLC, Chemguard Inc., Fire Products

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            GP Holding, LLC, Johnson Controls International PLC, Kidde-Fenwal, Inc., National Foam,

            Inc.., and Tyco Fire Products L.P.,

                    108.    Defendant The 3M Company f/k/a Minnesota Mining and Manufacturing

            Co. (“3M”) is a corporation organized and existing under the laws of the State of Delaware, with

            its principal place of business located at 3M Center, St. Paul, Minnesota 55144-1000.

                    109.    Beginning before 1970 and until at least 2002, 3M designed, manufactured,

            marketed, distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

            PFOS.

                    110.    Defendant Amerex Corporation (“Amerex”) is a corporation organized and

            existing under the laws of the State of Alabama, with its principal place of business located at

            7595 Gadsden Highway, Trussville, AL 35173.

                    111.    Amerex is a manufacturer of firefighting products. Beginning in 1971, it was a

            manufacturer of hand portable and wheeled extinguishers for commercial and industrial

            applications.

                    112.    In 2011, Amerex acquired Solberg Scandinavian AS, one of the largest

            manufacturers of AFFF products in Europe.

                    113.    On information and belief, beginning in 2011, Amerex designed, manufactured,

            marketed distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

            PFOS.

                    114.    Defendant Tyco Fire Products LP (“Tyco”) is a limited partnership organized

            under the laws of the State of Delaware, with its principal place of business located at One

            Stanton Street, Marinette, Wisconsin 54143-2542.




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                    115.   Tyco is the successor in interest of The Ansul Company (“Ansul”), having

            acquired Ansul in 1990.

                    116.   Beginning in or around 1975, Ansul designed, manufactured, marketed,

            distributed, and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

                    117.   After Tyco acquired Ansul in 1990, Tyco/Ansul continued to design,

            manufacture, market, distribute, and sell AFFF products containing PFAS, including but not

            limited to PFOA and PFOS.

                    118.   Defendant Chemguard, Inc. (“Chemguard”) is a corporation organized under

            the laws of the State of Texas, with its principal place of business located at One Stanton Street,

            Marinette, Wisconsin 54143.

                    119.   On information and belief, Chemguard designed, manufactured, marketed,

            distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

            PFOS.

                    120.   On information and belief, Chemguard was acquired by Tyco International Ltd. in

            2011.

                    121.   On information and belief, Tyco International Ltd. later merged into its subsidiary

            Tyco International plc in 2014 to change its jurisdiction of incorporation from Switzerland to

            Ireland.

                    122.   Defendant Buckeye Fire Equipment Company (“Buckeye”) is a corporation

            organized under the laws of the State of Ohio, with its principal place of business located at 110

            Kings Road, Kings Mountain, North Carolina 28086.




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                    123.   On information and belief, Buckeye designed, manufactured, marketed,

            distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

            PFOS.

                    124.   Defendant National Foam, Inc. (“National Foam”) is a corporation organized

            under the laws of the State of Delaware, with its principal place of business located at 141 Junny

            Road, Angier, North Carolina 27501.

                    125.   Beginning in or around 1973, National Foam designed, manufactured, marketed,

            distributed, and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

                    126.   On information and belief, National Foam currently manufactures the Angus

            brand of AFFF products and is a subsidiary of Angus International Safety Group.

                    127.   On information and belief, National Foam merged with Chubb Fire Ltd. to form

            Chubb National Foam, Inc. in or around 1988.

                    128.   On information and belief, Chubb is or has been composed of different

            subsidiaries and/or divisions, including but not limited to, Chubb Fire & Security Ltd., Chubb

            Security, PLC, Red Hawk Fire & Security, LLC, and/or Chubb National Foam, Inc. (collectively

            referred to as “Chubb”).

                    129.   On information and belief, Chubb was acquired by Williams Holdings in 1997.

                    130.   On information and belief, Angus Fire Armour Corporation had previously been

            acquired by Williams Holdings in 1994.

                    131.   On information and belief, Williams Holdings was demerged into Chubb and

            Kidde P.L.C. in or around 2000.




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                    132.   On information and belief, when Williams Holdings was demerged, Kidde P.L.C.

            became the successor in interest to National Foam System, Inc. and Angus Fire Armour

            Corporation.

                    133.   On information and belief, Kidde P.L.C. was acquired by United Technologies

            Corporation in or around 2005.

                    134.   On information and belief, Angus Fire Armour Corporation and National Foam

            separated from United Technologies Corporation in or around 2013.

                    135.   Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized

            under the laws of the State of Delaware, with its principal place of business at One Financial

            Plaza, Hartford, Connecticut 06101.

                    136.   On information and belief, Kidde-Fenwal was an operating subsidiary of Kidde

            P.L.C. and manufactured AFFF following Kidde P.L.C.’s acquisition by United Technologies

            Corporation.

                    137.   On information and belief, Kidde-Fenwal is the entity that divested the AFFF

            business unit now operated by National Foam in 2013.

                    138.   Defendant Carrier Global Corporation (“Carrier”) is a corporation organized

            under the laws of the State of Delaware, with its principal place of business at 13995 Pasteur

            Boulevard, Palm Beach Gardens, Florida 33418.

                    139.   On information and belief, Carrier was formed in March 2020 when United

            Technologies Corporation spun off its fire and security business before it merged with Raytheon

            Company in April 2020.

                    140.   On information and belief, Kidde-Fenwal became a subsidiary of Carrier when

            United Technologies Corporation spun off its fire and security business in March 2020.



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                     141.   On information and belief, the AFFF Defendants designed, manufactured,

            marketed, distributed, and sold AFFF products containing PFOS, PFOA, and/or their chemical

            precursors that were stored, handled, used, trained with, tested equipment with, otherwise

            discharged, and/or disposed at the Sites.

                             ii.   The Fluorosurfactant Defendants

                     142.   The term “Fluorosurfactant Defendants” refers collectively to Defendants 3M, ,

            Arkema Inc., BASF Corporation, ChemDesign Products Incorporated, Chemguard Inc.,

            Deepwater Chemicals, Inc., E.I. DuPont de Nemours and Company, The Chemours Company,

            The Chemours Company FC, LLC, DuPont de Nemours Inc., and Dynax Corporation.

                     143.   Defendant Arkema Inc. is a corporation organized and existing under the laws

            of Pennsylvania, with its principal place of business at 900 First Avenue, King of Prussia, PA

            19406.

                     144.   Arkema Inc. develops specialty chemicals and polymers.

                     145.   Arkema, Inc. is an operating subsidiary of Arkema France, S.A.

                     146.   On information and belief, Arkema Inc. designed, manufactured, marketed,

            distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

            for use in AFFF products.

                     147.   Defendant BASF Corporation (“BASF”) is a corporation organized under the

            laws of the State of Delaware, with its principal place of business located at 100 Park Avenue,

            Florham Park, New Jersey 07932.

                     148.   On information and belief, BASF is the successor-in-interest to Ciba. Inc. (f/k/a

            Ciba Specialty Chemicals Corporation).




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                    149.   On information and belief, Ciba Inc. designed, manufactured, marketed,

            distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

            for use in AFFF products.

                    150.   Defendant ChemDesign Products Inc. (“ChemDesign”) is a corporation

            organized under the laws of Delaware, with its principal place of business located at 2 Stanton

            Street, Marinette, WI, 54143.

                    151.   On information and belief, ChemDesign designed, manufactured, marketed,

            distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

            for use in AFFF products

                    152.   Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a corporation

            organized under the laws of Delaware, with its principal place of business located at 196122 E

            County Road 40, Woodward, OK, 73801.

                    153.   On information and belief, Deepwater Chemicals designed, manufactured,

            marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

            precursors for use in AFFF products

                    154.   Defendant Dynax Corporation (“Dynax”) is a corporation organized under the

            laws of the State of Delaware, with its principal place of business located at 103 Fairview Park

            Drive, Elmsford, New York 10523.

                    155.   On information and belief, Dynax entered into the AFFF market on or about 1991

            and quickly became a leading global producer of fluorosurfactants and fluorochemical stabilizers

            containing PFOS, PFOA, and/or their chemical precursors.




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                    156.   On information and belief, Dynax designed, manufactured, marketed, distributed,

            and sold fluorosurfactants and fluorochemical stabilizers containing PFOS, PFOA, and/or their

            chemical precursors for use in AFFF products.

                    157.   Defendant E.I. du Pont de Nemours & Company (“DuPont”) is a corporation

            organized under the laws of the State of Delaware, with its principal place of business located at

            974 Centre Road, Wilmington, Delaware 19805.

                    158.   Defendant The Chemours Company (“Chemours Co.”) is a limited liability

            company organized under the laws of the State of Delaware, with its principal place of business

            located at 1007 Market Street, P.O. Box 2047, Wilmington, Delaware, 19899.

                    159.   In 2015, DuPont spun off its performance chemicals business to Chemours Co.,

            along with vast environmental liabilities which Chemours Co. assumed, including those related

            to PFOS and PFOA and fluorosurfactants.         On information and belief, Chemours Co. has

            supplied fluorosurfactants containing PFOS and PFOA, and/or their chemical precursors to

            manufacturers of AFFF products.

                    160.   On information and belief, Chemours Co. was incorporated as a subsidiary of

            DuPont as of April 30, 2015. From that time until July 2015, Chemours Co. was a wholly-

            owned subsidiary of DuPont.

                    161.   In July 2015, DuPont spun off Chemours Co. and transferred to Chemours Co. its

            “performance chemicals” business line, which includes its fluoroproducts business, distributing

            shares of Chemours Co. stock to DuPont stockholders, and Chemours Co. has since been an

            independent, publicly-traded company.




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                    162.      Defendant The Chemours Company FC, LLC (“Chemours FC”) is a limited

            liability company organized under the laws of the State of Delaware, with its principal place of

            business located at 1007 Market Street, Wilmington, Delaware, 19899.

                    163.      Defendant Corteva, Inc. (“Corteva”) is a corporation organized and existing

            under the laws of Delaware, with its principal place of business at 974 Centre Rd., Wilmington,

            Delaware 19805.

                    164.      Defendant Dupont de Nemours Inc. f/k/a DowDuPont, Inc. (“Dupont de

            Nemours Inc.”) is a corporation organized and existing under the laws of Delaware, with its

            principal place of business at 974 Centre Road, Wilmington, Delaware 19805 and 2211 H.H.

            Dow Way, Midland, Michigan 48674.

                    165.      On June 1, 2019, DowDuPont separated its agriculture business through the spin-

            off of Corteva.

                    166.      Corteva was initially formed in February 2018. From that time until June 1, 2019,

            Corteva was a wholly-owned subsidiary of DowDuPont.

                    167.      On June 1, 2019, DowDuPont distributed to DowDuPont stockholders all issued

            and outstanding shares of Corteva common stock by way of a pro-rata dividend. Following that

            distribution, Corteva became the direct parent of E. I. Du Pont de Nemours & Co.

                    168.      Corteva holds certain DowDuPont assets and liabilities, including DowDuPont’s

            agriculture and nutritional businesses.

                    169.      On June 1, 2019, DowDuPont, the surviving entity after the spin-off of Corteva

            and of another entity known as Dow, Inc., changed its name to DuPont de Nemours, Inc., to be

            known as DuPont (“New DuPont”). New DuPont retained assets in the specialty products




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            business lines following the above-described spin-offs, as well as the balance of the financial

            assets and liabilities of E.I DuPont not assumed by Corteva.

                    170.   Defendants E. I. Du Pont de Nemours and Company; The Chemours Company;

            The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are collectively

            referred to as “DuPont” throughout this Complaint.

                    171.   On information and belief, DuPont designed, manufactured, marketed,

            distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

            for use in AFFF products.

                    172.   On information and belief, 3M and Chemguard also designed, manufactured,

            marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

            precursors for use in AFFF products.

                    173.   On information and belief, the Fluorosurfactant Defendants              designed,

            manufactured, marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or

            their chemical precursors for use in AFFF products that were stored, handled, used, trained with,

            tested equipment with, otherwise discharged, and/or disposed at the Sites.

                            iii.   The PFC Defendants

                    174.   The term “PFC Defendants” refers collectively to 3M, AGC Chemicals

            Americas Inc., Archroma Management LLC, ChemDesign Products Inc., Chemicals, Inc.,

            Clariant Corporation, Deepwater Chemicals, Inc., E. I. DuPont de Nemours and Company, The

            Chemours Company, The Chemours Company FC, LLC, Corteva, Inc., DuPont de Nemours

            Inc., and Nation Ford Chemical Company.

                    175.   Defendant AGC Chemicals Americas, Inc. (“AGC”) is a corporation organized

            and existing under the laws of Delaware, having its principal place of business at 55 East

            Uwchlan Avenue, Suite 201, Exton, PA 19341.
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                    176.   On information and belief, AGC Chemicals Americas, Inc. was formed in 2004

            and is a subsidiary of AGC Inc., a foreign corporation organized under the laws of Japan, with its

            a principal place of business in Tokyo, Japan.

                    177.   AGC manufactures specialty chemicals. It offers glass, electronic displays, and

            chemical products, including resins, water and oil repellants, greenhouse films, silica additives,

            and various fluorointermediates.

                    178.   On information and belief, AGC designed, manufactured, marketed, distributed,

            and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

            manufacturing the fluorosurfactants used in AFFF products.

                    179.   Defendant Archroma U.S., Inc. (“Archroma”) is a corporation organized and

            existing under the laws of Delaware, with its a principal place of business at 5435 77 Center

            Drive, Charlotte, North Carolina 28217.

                    180.   On information and belief, Archroma was formed in 2013 when Clariant

            Corporation divested its textile chemicals, paper specialties, and emulsions business to SK

            Capital Partners.

                    181.   On information and belief, Archroma designed, manufactured, marketed,

            distributed, and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

            manufacturing the fluorosurfactants used in AFFF products.

                    182.   Defendant Chemicals, Inc. (“Chemicals, Inc.”) is a corporation organized and

            existing under the laws of Texas, with its principal place of business located at 12321

            Hatcherville, Baytown, TX 77520.




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                    183.   On information and belief, Chemicals, Inc. supplied PFCs containing PFOS,

            PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used in

            AFFF products.

                    184.   Defendant Clariant Corporation (“Clariant”) is a corporation organized and

            existing under the laws of New York, with its principal place of business at 4000 Monroe Road,

            Charlotte, North Carolina 28205.

                    185.   On information and belief, Clariant is the successor in interest to the specialty

            chemicals business of Sandoz Chemical Corporation (“Sandoz”). On information and belief,

            Sandoz spun off its specialty chemicals business to form Clariant in 1995.

                    186.   On information and belief, Clariant supplied PFCs containing PFOS, PFOA,

            and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

            products.

                    187.   Defendant Nation Ford Chemical Co. (“Nation Ford”) is a corporation

            organized and existing under the laws of South Carolina, with its principal place of business

            located at 2300 Banks Street, Fort Mill, SC 29715.

                    188.   On information and belief, Nation Ford supplied PFCs containing PFOS, PFOA,

            and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

            products.

                    189.   On information and belief, 3M, ChemDesign, Deepwater Chemicals, and DuPont

            also supplied PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

            manufacturing the fluorosurfactants used in AFFF products.

                    190.   On information and belief, the Fluorochemical Defendants supplied PFCs

            containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing the



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            fluorosurfactants used in AFFF products that were stored, handled, used, trained with, tested

            equipment with, otherwise discharged, and/or disposed at the Sites.

                            iv.    Doe Defendants 1-20

                    191.   Doe Defendants 1-20 are unidentified entities or persons whose names are

            presently unknown and whose actions, activities, omissions (a) may have permitted, caused

            and/or contributed to the contamination of Plaintiff’s water sources or supply wells; or (b) may

            be vicariously responsible for entities or persons who permitted, caused and/or contributed to the

            contamination of Plaintiff’s water sources or supply wells; or (c) may be successors in interest to

            entities or persons who permitted, caused and/or permitted , contributed to the contamination of

            Plaintiff’s water sources or supply wells. After reasonable search and investigation to ascertain

            the Doe Defendants actual names, the Doe Defendants’ actual identities are unknown to Plaintiff

            as they are not linked with any of the Defendants on any public source.

                    192.   The Doe Defendants 1-20 either in their own capacity or through a party they are

            liable for: (1) designed, manufactured, marketed, distributed, and/or sold AFFF products

            containing PFOS, PFOA, and/or their chemical precursors, and/or designed, manufactured,

            marketed, distributed, and/or sold the fluorosurfactants and/or PFCs contained in

            AFFF/Component Products; or (2) used, handled, transported, stored, discharged, disposed of,

            designed, manufactured, marketed, distributed, and/or sold PFOS, PFOA, and/or their chemical

            precursors, or other non-AFFF products containing PFOS, PFOA, and/or their chemical

            precursors; or (3) failed to timely perform necessary and reasonable response and remedial

            measures to releases of PFOS, PFOA, and/or their chemical precursors, or other non-AFFF

            products containing PFOS, PFOA, and/or their chemical precursors in to the environment in

            which Plaintiff’s water supplies and well exist.



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                    193.   All Defendants, at all times material herein, acted by and through their respective

            agents, servants, officers and employees, actual or ostensible, who then and there were acting

            within the course and scope of their actual or apparent agency, authority or duties. Defendants

            are liable based on such activities, directly and vicariously.

                    194.   Defendants represent all or substantially all of the market for AFFF/Component

            Products at the Sites.

                    FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION

                    A.     PFOA and PFOS and Their Risk to Public Health

                    195.   PFAS are chemical compounds containing fluorine and carbon. These substances

            have been used for decades in the manufacture of, among other things, household and

            commercial products that resist heat, stains, oil, and water. These substances are not naturally

            occurring and must be manufactured.

                    196.   The two most widely studied types of these substances are PFOA and PFOS.

                    197.   PFOA and PFOS have unique properties that cause them to be: (i) mobile and

            persistent, meaning that they readily spread into the environment where they break down very

            slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend to accumulate in

            organisms and up the food chain; and (iii) toxic, meaning that they pose serious health risks to

            humans and animals.

                    198.   PFOA and PFOS easily dissolve in water, and thus they are mobile and easily

            spread in the environment. PFOA and PFOS also readily contaminate soils and leach from the

            soil into groundwater, where they can travel significant distances.

                    199.   PFOA and PFOS are characterized by the presence of multiple carbon-fluorine

            bonds, which are exceptionally strong and stable. As a result, PFOA and PFOS are thermally,



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            chemically, and biologically stable. They resist degradation due to light, water, and biological

            processes.

                    200.   Bioaccumulation occurs when an organism absorbs a substance at a rate faster

            than the rate at which the substance is lost by metabolism and excretion. Biomagnification

            occurs when the concentration of a substance in the tissues of organisms increases as the

            substance travels up the food chain.

                    201.   PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they are

            relatively stable once ingested, so that they bioaccumulate in individual organisms for significant

            periods of time. Because of this stability, any newly ingested PFOA and PFOS will be added to

            any PFOA and PFOS already present. In humans, PFOA and PFOS remain in the body for years.

                    202.   PFOA and PFOS biomagnify up the food chain. This occurs, for example, when

            humans eat fish that have ingested PFOA and/or PFOS.

                    203.   The chemical structure of PFOA and PFOS makes them resistant to breakdown or

            environmental degradation. As a result, they are persistent when released into the environment.

                    204.   Exposure to PFAS is toxic and poses serious health risks to humans and animals.

                    205.   PFAS are readily absorbed after consumption or inhalation and accumulate

            primarily in the bloodstream, kidney, and liver.

                    B.     Defendants’ Manufacture and Sale of AFFF/Component Products

                    206.   AFFF is a type of water-based foam that was first developed in the 1960s to

            extinguish hydrocarbon fuel-based fires.

                    207.   AFFF is a Class-B firefighting foam. It is mixed with water and used to

            extinguish fires that are difficult to fight, particularly those that involve petroleum or other

            flammable liquids.



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                    208.   AFFF is synthetically formed by combining fluorine-free hydrocarbon foaming

            agents with fluorosurfactants. When mixed with water, the resulting solution produces an

            aqueous film that spreads across the surface of hydrocarbon fuel. This film provides fire

            extinguishment and is the source of the designation aqueous film-forming foam.

                    209.   Beginning in the 1960s, the AFFF Defendants designed, manufactured, marketed,

            distributed, and/or sold AFFF products that used fluorosurfactants containing either PFOS,

            PFOA, or the chemical precursors that degrade into PFOS and PFOA.

                    210.   AFFF can be made without the fluorosurfactants that contain PFOA, PFOS,

            and/or their precursor chemicals. Fluorine-free firefighting foams, for instance, do not release

            PFOA, PFOS, and/or their precursor chemicals into the environment.

                    211.   AFFF that contains fluorosurfactants, however, is better at extinguishing

            hydrocarbon fuel-based fires due to their surface-tension lowering properties, essentially

            smothering the fire and starving it of oxygen.

                    212.   The fluorosurfactants used in 3M’s AFFF products were manufactured by 3M’s

            patented process of electrochemical fluorination (“ECF”).

                    213.   The fluorosurfactants used in other AFFF products sold by the AFFF Defendants

            were manufactured by the Fluorosurfactant Defendants through the process of telomerization.

                    214.   The PFCs the Fluorosurfactant Defendants needed to manufacture those

            fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

            manufactured, marketed, distributed and/or sold by the PFC Defendants.

                    215.   On information and belief, the PFC and Fluorosurfactant Defendants were aware

            that the PFCs and fluorosurfactants they designed, manufactured, marketed, distributed, and/or




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            sold would be used in the AFFF products designed, manufactured, marketed, distributed, and/or

            sold by the AFFF Defendants.

                    216.     On information and belief, the PFC and Fluorosurfactant Defendants designed,

            manufactured, marketed, distributed, and/or sold the PFC and/or fluorosurfactants contained in

            the AFFF products discharged into the environment at the Site during fire protection, training,

            and response activities, resulting in widespread PFAS contamination.

                    217.     On information and belief, the AFFF Defendants designed, manufactured,

            marketed, distributed, and/or sold the AFFF products discharged into the environment at the Site

            during fire protection, training, and response activities, resulting in widespread PFAS

            contamination.

                    C.       Defendants’ Knowledge of the Threats to Public Health and the Environment
                             Posed by PFOS and PFOA

                    218.     On information and belief, by at least the 1970s 3M and DuPont knew or should

            have known that PFOA and PFOS are mobile and persistent, bioaccumulative and

            biomagnifying, and toxic.

                    219.     On information and belief, 3M and DuPont concealed from the public and

            government agencies its knowledge of the threats to public health and the environment posed by

            PFOA and PFOS.

                    220.     Some or all of the Defendants understood how stable the fluorinated surfactants

            used in AFFF are when released into the environment from their first sale to a customer, yet they

            failed to warn their customers or provide reasonable instruction on how to manage wastes

            generated from their products.




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                                i.    1940s and 1950s: Early Warnings About the Persistence of AFFF

                    221.     In 1947, 3M started its fluorochemical program, and within four years, it began

            selling its PFOA to DuPont. The persistence and contaminating nature of the fluorosurfactants

            contained in AFFF products were understood prior to their commercial application at 3M’s

            Cottage Grove facility in Minnesota.

                    222.     The inventor of 3M’s ECF process was J.H. Simons. Simons’ 1948 patent for the

            ECF process reported that PFCs are “non-corrosive, and of little chemical reactivity,” and “do

            not react with any of the metals at ordinary temperatures and react only with the more chemically

            reactive metals such as sodium, at elevated temperatures.”1

                    223.     Simons further reported that fluorosurfactants produced by the ECF process do

            not react with other compounds or reagents due to the blanket of fluorine atoms surrounding the

            carbon skeleton of the molecule. 3M understood that the stability of the carbon-to-fluorine bonds

            prevented its fluorosurfactants from undergoing further chemical reactions or degrading under

            natural processes in the environment.2

                    224.     The thermal stability of 3M’s fluorosurfactants was also understood prior to

            commercial production. Simons’ patent application further discloses that the fluorosurfactants

            produced by the ECF process were thermally stable at temperatures up to 750° C (1382º F).

            Additional research by 3M expanded the understanding of the thermal stability of

            perfluorocarbon compounds.3



                1
                   Simons, J. H., Fluorination of Organic Compounds, U.S. Patent No. 2,447,717. August 24, 1948, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.
                 2
                   Simons, J. H., 1950. Fluorocarbons and Their Production. Fluorine Chemistry, 1(12): 401-422, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf.
                3
                 Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine Chemistry, 1(13):
            423-462.

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                    225.   Nowhere in any Material Safety Data Sheet for any of Defendants’

            AFFF/Component Products is information on the thermal stability of those products disclosed.

            Failure to disclose knowledge of the stability of the PFCs and fluorosurfactants used in AFFF

            products to customers is a failure to warn just how indestructible the AFFF’s ingredients are

            when released to unprotected water sources and even treatment plants.

                             ii.   1960s: AFFF’s Environmental Hazards Come into Focus

                    226.   By at least the end of the 1960s, additional research and testing performed by 3M

            and DuPont indicated that fluorosurfactants, including at least PFOA, because of their unique

            chemical structure, were resistant to environmental degradation and would persist in the

            environment essentially unaltered if allowed to enter the environment.

                    227.   One 3M employee wrote in 1964: “This chemical stability also extends itself to

            all types of biological processes; there are no known biological organisms that are able to attack

            the carbon-fluorine bond in a fluorocarbon.”4 Thus, 3M knew by the mid-1960s that its

            surfactants were immune to chemical and biological degradation in soils and groundwater.

                    228.   3M also knew by 1964 that when dissolved, fluorocarbon carboxylic acids and

            fluorocarbon sulfonic acids dissociated to form highly stable perfluorocarboxylate and

            perfluorosulfonate ions. Later studies by 3M on the adsorption and mobility of FC-95 and FC-

            143 (the ammonium salt of PFOA) in soils indicated very high solubility and very high mobility

            in soils for both compounds.5




                 4
                    Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Chemistry (1964),      available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.
                 5
                   Technical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1158.pdf.

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                               iii.   1970s: Internal Studies Provide Evidence of Environmental and Health
                                      Risks

                      229.    By 1950, 3M knew that the fluorosurfactants used in its AFFF product(s) would

            not degrade when released to the environment, but would remain intact and persist. Two decades

            later—and after the establishment of a robust market of AFFFs using fluorosurfactants—3M

            finally got around to looking at the environmental risks that fluorosurfactants posed.

                      230.    An internal memo from 3M in 1971 states that “the thesis that there is ‘no natural

            sink’ for fluorocarbons obviously demands some attention.”6 Hence, 3M understood at the very

            least that the fluorosurfactant used in its AFFF products would, in essence, never degrade once it

            was released into the environment.

                      231.    By the mid-1970s, 3M and Ansul (and possibly other Defendants) had an intimate

            understanding of the persistent nature of PFCs. A 1976 study, for example, observed no

            biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized as

            “unsurprising” in light of the fact that “[b]iodegradation of FC 95 is improbable because it is

            completely fluorinated.”7

                      232.    In 1977, Ansul authored a report titled “Environmentally Improved AFFF,” which

            acknowledged that releasing AFFF into the environment could pose potential negative impacts to

            groundwater quality.8 Ansul wrote: “The purpose of this work is to explore the development of

            experimental AFFF formulations that would exhibit reduced impact on the environment while

            retaining certain fire suppression characteristic . . . improvements [to AFFF formulations] are

            desired in the environmental area, i.e., development of compositions that have a reduced impact

                6
                  Memorandum from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13, 1971,
            available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1088.pdf.
                7
                    Technical Report Summary, August 12, 1976 [3MA01252037].
                8
                  Ansul Co., Final Report: Environmentally Improved AFFF, N00173-76-C-0295, Marinette, WI, Dec. 13,
            1977, available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a050508.pdf.

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            on the environment without loss of fire suppression effectiveness.” Thus, Ansul knew by the

            mid-1970s that the environmental impact of AFFF needed to be reduced, yet there is no evidence

            that Ansul (or any other Defendant) ever pursued initiatives to do so.

                     233.    A 1978 3M biodegradation study likewise reported that an “extensive study

            strongly suggest[ed]” one of its PFCs is “likely to persist in the environment for extended period

            unaltered by metabolic attack.”9 A year later, a 3M study reported that one of its

            fluorosurfactants “was found to be completely resistant to biological test conditions,” and that it

            appeared waterways were the fluorosurfactant’s “environmental sink.”10

                     234.    In 1979, 3M also completed a comprehensive biodegradation and toxicity study

            covering investigations between 1975 and 1978.11 More than a decade after 3M began selling

            AFFF containing fluorosurfactants it wrote: “there has been a general lack of knowledge relative

            to the environmental impact of these chemicals.” The report ominously asked, “If these materials

            are not biodegradable, what is their fate in the environment?”

                     235.    During the 1970s, 3M also learned that the fluorosurfactants used in AFFF

            accumulated in the human body and were “even more toxic” than previously believed.

                     236.    In 1975, 3M learns that PFAS was present in the blood of the general population.12

            Since PFOA and PFOS are not naturally occurring, this finding should have alerted 3M to the

            possibility that their products were a source of this PFOS. The finding also should have alerted


                9
                  Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
            Fluorocarbons - II, Jan. 1, 1978, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf.
                10
                    Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
            Fluorocarbons           -          III,        July        19,          1978,         available          at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1179.pdf.
                 11
                    Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2563.pdf.
                12
                   Memorandum from G.H. Crawford to L.C. Krogh et al. re: Fluorocarbons in Human Blood Plasma, Aug. 20,
            1975, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.

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            3M to the possibility that PFOS might be mobile, persistent, bioaccumulative, and biomagnifying,

            as those characteristics could explain how PFOS from 3M's products ended up in human blood.

                     237.   In 1976, 3M found PFAS in the blood of its workers at levels “up to 1000 times

            ‘normal’ amounts of organically bound fluorine in their blood.”13 This finding should have alerted

            3M to the same issues raised by the prior year’s findings.

                     238.   Studies by 3M in 1978 showed that PFOA reduced the survival rate of fathead

            minnow fish eggs,14 that PFOS was toxic to monkeys,15 and that PFOS and PFOA were toxic to

            rats.16 In the study involving monkeys and PFOS, all of the monkeys died within days of ingesting

            food contaminated with PFOS.

                     239.   In 1979, 3M and DuPont discussed 3M’s discovery of PFOA in the blood of its

            workers and came to the same conclusion that there was “no reason” to notify the EPA of the

            finding.17

                              iv.    1980s and 1990s: Evidence of AFFF’s Health Risks Continues to Mount

                     240.   By at least the end of the 1980s, additional research and testing performed by

            Defendants, including at least 3M and DuPont, indicated that elevated incidence of certain

            cancers and other adverse health effects, including elevated liver enzymes and birth defects, had


                13
                      3M     Chronology     –    Fluorochemicals  in  Blood,       Aug.    26,    1977,    available    at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1144.pdf.
                14
                    The Effects of Continuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growth and Survival of
            Fry           of          Fathead         Minnow,            June          1978,          available         at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1176.pdf.
                 15
                     Ninety-Day Subacute Rhesus Monkey Toxicity Study, Dec. 18, 1978, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1191.pdf; Aborted FC95 Monkey Study, Jan. 2, 1979,
            available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf.
                 16
                     Acute Oral Toxicity (LD50) Study in Rats (FC-143), May 5, 1978, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf; FC-95, FC-143 and FM-3422 – 90 Day
            Subacute Toxicity Studies Conducted at IRDC – Review of Final Reports and Summary, Mar. 20, 1979, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.
                17
                   Memorandum from R.A. Prokop to J.D. Lazerte re: Disclosure of Information on Levels of Fluorochemicals
            in Blood, July 26, 1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.

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            been observed among workers exposed to such materials, including at least PFOA, but such data

            was not published, provided to governmental entities as required by law, or otherwise publicly

            disclosed at the time.

                       241.     In 1981, DuPont tested for and found PFOA in the blood of female plant workers

            Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in exposed

            workers, finding two of seven children born to female plant workers between 1979 and 1981 had

            birth defects—one an “unconfirmed” eye and tear duct defect, and one a nostril and eye defect. 18

                       242.     In 1983, 3M researchers concluded that concerns about PFAS “give rise to concern

            for environmental safety,” including “legitimate questions about the persistence, accumulation

            potential, and ecotoxicity of fluorochemicals in the environment.”19 That same year, 3M

            completed a study finding that PFOS caused the growth of cancerous tumors in rats.20 This

            finding was later shared with DuPont and led them to consider whether “they may be obliged

            under their policy to call FC-143 a carcinogen in animals.”21

                       243.     In 1984, 3M documented a trend of increasing levels of PFOS in the bodies of 3M

            workers, leading one of the company’s medical officers to warn in an internal memo: “we must

            view this present trend with serious concern. It is certainly possible that . . . exposure

            opportunities are providing a potential uptake of fluorochemicals that exceeds excretion

            capabilities of the body.”22


                18
                     C-8 Blood Sampling Results, available at http://tiny.cc/v8z1mz.
                19
                    3M Environmental Laboratory (EE & PC), Fate of Fluorochemicals - Phase II, May 20, 1983, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1284.pdf.
               20
                  Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1 of 4,
            Aug. 29, 1987, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
                21
                    Memorandum from R.G. Perkins to F.D. Griffith re: Summary of the Review of the FC-143 Two-Year
            Feeder Study Report to be presented at the January 7, 1988 meeting with DuPont, January 5, 1988, available at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.
                22
                     Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available at

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                    244.    A 1997 material safety data sheet (“MSDS”) for a non-AFFF product made by 3M

            listed its only ingredients as water, PFOA, and other perfluoroalkyl substances and warned that

            the product includes “a chemical which can cause cancer.” The MSDS cited “1983 and 1993

            studies conducted jointly by 3M and DuPont” as support for this statement. On information and

            belief, the MSDS for 3M’s AFFF products did not provide similar warnings or information.

                              v.    Defendants Hid What They Knew from the Government and the Public.

                    245.    Federal law requires chemical manufacturers and distributors to immediately

            notify the EPA if they have information that “reasonably supports the conclusion that such

            substance or mixture presents a substantial risk of injury to health or the environment.” Toxic

            Substances Control Act (“TSCA”) § 8(e), 15 U.S.C. § 2607(e)

                    246.    In April 2006, 3M agreed to pay EPA a penalty of more than $1.5 million after

            being cited for 244 violations of the TSCA, which included violations for failing to disclose

            studies regarding PFOS, PFOA, and other PFCs dating back decades.

                    247.    Likewise, in December 2005, the EPA announced it was imposing the “Largest

            Environmental Administrative Penalty in Agency History” against DuPont based on evidence

            that it violated the TSCA by concealing the environmental and health effects of PFOA.

                    248.    On information and belief, Defendants knew or should have known that AFFF

            containing PFOA or PFOS would very likely injure and/or threaten public health and the

            environment, even when used as intended or directed.

                    249.    Defendants failed to warn of these risks to the environment and public health,

            including the impact of their AFFF/Component Products on the quality of unprotected water

            sources.



            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1313.pdf.

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                    250.    Defendants were all sophisticated and knowledgeable in the art and science of

            designing, formulating, and manufacturing AFFF/Component Products. They understood far

            more about the properties of their AFFF/Component Products—including the potential hazards

            they posed to human health and the environment—than any of their customers. Still, Defendants

            declined to use their sophistication and knowledge to design safer products.

                    D.      The Impact of PFOS and PFOA on the Environment and Human Health Is
                            Finally Revealed

                    251.    As discussed above, neither 3M, DuPont, nor, on information and belief, any

            other Defendant complied with their obligations to notify EPA about the “substantial risk of

            injury to health or the environment” posed by their AFFF/Component Products. See TSCA §

            8(e).

                    252.    Despite decades of research, 3M first shared its concerns with EPA in the late

            1990s. In a May 1998 report submitted to EPA, “3M chose to report simply that PFOS had been

            found in the blood of animals, which is true but omits the most significant information,”

            according to a former 3M employee.23

                    253.    On information and belief, 3M began in 2000 to phase out its production of

            products that contained PFOS and PFOA in response to pressure from the EPA.

                    254.    Once the truth about PFOS and PFOA was revealed, researchers began to study

            the environmental and health effects associated with them, including a “C8 Science Panel”

            formed out of a class action settlement arising from contamination from DuPont’s Washington

            Works located in Wood County, West Virginia.




                 23
                        Letter        from       R.       Purdy,    Mar.       28,   1999,   available    at
            https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.

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                    255.   The C8 panel consisted of three epidemiologists specifically tasked with

            determining whether there was a probable link between PFOA exposure and human diseases. In

            2012, the panel found probable links between PFOA and kidney cancer, testicular cancer,

            ulcerative colitis, thyroid disease, pregnancy-induced hypertension (including preeclampsia), and

            hypercholesterolemia.

                    256.   Human health effects associated with PFOS exposure include immune system

            effects, changes in liver enzymes and thyroid hormones, low birth weight, high uric acid, and

            high cholesterol. In laboratory testing on animals, PFOA and PFOS have caused the growth of

            tumors, changed hormone levels, and affected the function of the liver, thyroid, pancreas, and

            immune system.

                    257.   The injuries caused by PFAS can arise months or years after exposure.

                    258.   Even after the C8 Science Panel publicly announced that human exposure to 50

            parts per trillion, or more, of PFOA in drinking water for one year or longer had “probable links”

            with certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid

            disease, preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured

            and represented to governmental entities, their customers, and the public (and continue to do so)

            that the presence of PFOA in human blood at the levels found within the United States presents

            no risk of harm and is of no legal, toxicological, or medical significance of any kind.

                    259.   Furthermore, Defendants have represented to and assured such governmental

            entities, their customers, and the public (and continue to do so) that the work of the independent

            C8 Science Panel was inadequate to satisfy the standards of Defendants to prove such adverse

            effects upon and/or any risk to humans with respect to PFOA in human blood.




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                     260.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

            minimized, trivialized, manipulated, and/or otherwise influenced the information that was

            published in peer-review journals, released by any governmental entity, and/or otherwise made

            available to the public relating to PFAS in human blood and any alleged adverse impacts and/or

            risks associated therewith, effectively preventing the public from discovering the existence and

            extent of any injuries/harm as alleged herein.

                     261.    On May 2, 2012, the EPA published its Third Unregulated Contaminant

            Monitoring Rule (“UCMR3”), requiring public water systems nationwide to monitor for thirty

            contaminants of concern between 2013 and 2015, including PFOS and PFOA.24

                     262.    In the May 2015 “Madrid Statement on Poly- and Perfluoroalkyl Substances

            (PFAS’s),” scientists and other professionals from a variety of disciplines, concerned about the

            production and release into the environment of PFOA, called for greater regulation, restrictions,

            limits on the manufacture and handling of any PFOA containing product, and to develop safe

            non-fluorinated alternatives to these products to avoid long-term harm to human health and the

            environment.25

                     263.    On May 25, 2016, the EPA released a lifetime health advisory (HAs) and health

            effects support documents for PFOS and PFOA.26 See Fed. Register, Vol. 81, No. 101, May 25,

            2016. The EPA developed the HAs to assist governmental officials in protecting public health

            when PFOS and PFOA are present in drinking water. The EPA HAs identified the concentration


                24
                  Revisions to the Unregulated Contaminant Monitoring Regulation (UCMR 3) for Public Water Systems, 77
            Fed. Reg: 26072 (May 2, 2012).
                25
                   Blum A, Balan SA, Scheringer M, Trier X, Goldenman G, Cousins IT, Diamond M, Fletcher T, Higgins C,
            Lindeman AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly- and perfluoroalkyl
            substances (PFASs). Environ Health Perspect 123:A107–A111; http://dx.doi.org/10.1289/ehp.1509934.
               26
                  See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories and Health Effects Support
            Documents for Perfluorooctanoic Acid and Perfluorooctane Sulfonate.

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            of PFOS and PFOA in drinking water at or below which adverse health effects are not

            anticipated to occur over a lifetime of exposure at 0.07 ppb or 70 ppt. The HAs were based on

            peer-reviewed studies of the effects of PFOS and PFOA on laboratory animals (rats and mice)

            and were also informed by epidemiological studies of human populations exposed to PFOS.

            These studies indicate that exposure to PFOS and PFOA over these levels may result in adverse

            health effects, including:

                           a. Developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low

                               birth weight, accelerated puberty, skeletal variations);

                           b. Cancer (testicular and kidney);

                           c. Liver effects (tissue damage);

                           d. Immune effects (e.g., antibody production and immunity);

                           e. Thyroid disease and other effects (e.g., cholesterol changes).

                      264.     In addition, PFOS and PFOA are hazardous materials because they pose a

            “present or potential threat to human health.”27

                      265.     In 2016, the National Toxicology Program of the United States Department of

            Health and Human Services (“NTP”) and the International Agency for Research on Cancer

            (“IARC”) both released extensive analyses of the expanding body of research regarding the

            adverse effects of PFCs. The NTP concluded that both PFOA and PFOS are “presumed to be an

            immune hazard to humans” based on a “consistent pattern of findings” of adverse immune

            effects in human (epidemiology) studies and “high confidence” that PFOA and PFOS exposure

            was associated with suppression of immune responses in animal (toxicology) studies.28


                27
                 Id.; see also National Ass'n for Surface Finishing v. EPA, 795 F.3d 1, 3, 6 (D.C. Cir. 2015) (referring to
            PFOS as a “toxic compound” and a “hazardous chemical.”).
                28
                     See U.S. Dep’t of Health and Human Services, Nat’l Toxicology Program, NTP Monograph: Immunotoxicity

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                     266.    IARC similarly concluded that there is “evidence” of “the carcinogenicity of . . .

            PFOA” in humans and in experimental animals, meaning that “[a] positive association has been

            observed between exposure to the agent and cancer for which a causal interpretation is . . .

            credible.”29

                     267.    California has listed PFOA and PFOS to its Proposition 65 list as a chemical

            known to cause reproductive toxicity under the Safe Drinking Water and Toxic Enforcement Act

            of 1986.30

                     268.    The United States Senate and House of Representatives passed the National

            Defense Authorization Act in November 2017, which included $42 Million to remediate PFC

            contamination from military bases, as well as devoting $7 Million toward the Investing in

            Testing Act, which authorizes the Center for Disease Control and Prevention (“CDC”) to

            conduct a study into the long-term health effects of PFOA and PFOS exposure.31 The legislation

            also required that the Department of Defense submit a report on the status of developing a new

            military specification for AFFF that did not contain PFOS or PFOA.32




            Associated with Exposure to Perfluorooctanoic Acid or Perfluorooctane Sulfonate (Sept. 2016), at 1, 17, 19,
            available at https://ntp.niehs.nih.gov/ntp/ohat/pfoa_pfos/pfoa_pfosmonograph_508.pdf
                29
                    See Int’l Agency for Research on Cancer, IARC Monographs: Some Chemicals Used as Solvents and in
            Polymer           Manufacture       (Dec.       2016),     at      27,      97,       available       at
            http://monographs.iarc.fr/ENG/Monographs/vol110/mono110.pdf.
                 30
                    California Office of Environmental Health Hazard Assessment, Chemicals Listed Effective Nov. 10, 2017 as
            Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid (PFOA) and
            Perfluorooctane Sulfonate (PFOS), Nov. 9, 2017, available at https://oehha.ca.gov/proposition-65/crnr/chemicals-
            listed-effective-november-10-2017-known-state-california-cause.
                 31
                    National Defense Authorization Act for Fiscal Year 2018, H.R. 2810, 115th Congress (2017), available at
            https://www.congress.gov/115/plaws/publ91/PLAW-115publ91.pdf.
                32
                  Id.; see also U.S. Department of Defense, Alternatives to Aqueous Film Forming Foam Report to Congress,
            June 2018, available at https://www.denix.osd.mil/derp/home/documents/alternatives-to-aqueous-film-forming-
            foam-report-to-congress/.

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                     269.   In June 2018, the Agency for Toxic Substances and Disease Registry (“ATSDR”)

            and EPA released a draft toxicological profile for PFOS and PFOA and recommended the

            drinking water advisory levels be lowered to 11 ppt for PFOA and 7 ppt for PFOS.33

                     270.   On February 20, 2020, the EPA announced a proposed decision to regulate PFOA

            and PFOS under the Safe Drinking Water Act, which the agency characterized as a “key

            milestone” in its efforts to “help communities address per- and polyfluoroalkyl substances

            (PFAS) nationwide.”34 Following a public comment period on its proposed decision, the EPA

            will decide whether to move forward with the process of establishing a national primary drinking

            water regulation for PFOA and PFOS.

                     E.     AFFF Containing PFOS and PFOA Is Fungible and Commingled in the
                            Groundwater

                     271.   AFFF containing PFOS and/or PFOA, once it has been released to the

            environment, lacks characteristics that would enable identification of the company that

            manufactured that particular batch of AFFF or chemical feedstock.

                     272.   A subsurface plume, even if it comes from a single location, such as a retention

            pond or fire training area, originates from mixed batches of AFFF and chemical feedstock

            coming from different manufacturers.

                     273.   Because precise identification of the specific manufacturer of any given

            AFFF/Component Product that was a source of the PFAS found at Reese Air Force Base, during

            fire protection, training, and response activities, resulting in widespread PFAS contamination is




                 33
                    ATSDR, Toxicological Profile for Perfluoroalkyls: Draft for Public Comment (June 2018), available at
            https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.
                34
                   Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Water, Feb. 20,
            2020, available at https://www.epa.gov/newsreleases/epa-announces-proposed-decision-regulate-pfoa-and-pfos-
            drinking-water.

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            nearly impossible, given certain exceptions, Plaintiffs must pursue all Defendants, jointly and

            severally.

                    274.   Defendants are also jointly and severally liable because they conspired to conceal

            the true toxic nature of PFOS and PFOA, to profit from the use of AFFF/Component Products

            containing PFOS and PFOA, at Plaintiffs’ expense, and to attempt to avoid liability.

                           MARKET SHARE LIABILITY, ALTERNATIVE LIABILITY,
                            CONCERT OF ACTION, AND ENTERPRISE LIABILITY

                    275.   Defendants in this action are manufacturers that control a substantial share of the

            market for AFFF/Component Products containing PFOS, PFOA, and/or their chemical

            precursors in the United States and are jointly responsible for the contamination of the

            groundwater at the Site, affecting groundwater sources within the vicinity of the base. Market

            share liability attaches to all Defendants and the liability of each should be assigned according to

            its percentage of the market for AFFF/Component Products at issue in this Complaint.

                    276.   Because PFAS is fungible, it is impossible to identify the exact Defendant who

            manufactured any given AFFF/Component Product containing PFOS, PFOA, and/or their

            chemical precursors found free in the air, soil or groundwater, and each of these Defendants

            participated in a territory-wide and U.S. national market for AFFF/Component Products during

            the relevant time.

                    277.   Concert of action liability attaches to all Defendants, each of which participated in

            a common plan to commit the torts alleged herein and each of which acted tortuously in

            pursuance of the common plan to knowingly manufacture and sell inherently dangerous

            AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors.

                    278.   Enterprise liability attaches to all the named Defendants for casting defective

            products into the stream of commerce.


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                                                     CONSPIRACY

                    279.    Defendants actually knew of the health and environmental hazards which PFOA

            and PFOS posed to Plaintiffs.

                    280.        Beginning in the 1970s and continuing through the date of this Complaint,

            Defendants formed joint task forces, committees and otherwise colluded for the avowed purpose

            of providing information about AFFF/Component Products containing PFOA and/or PFOS to the

            public and to government agencies with the unlawful purpose of:

                       a.      Creating a market for AFFF/Component Products containing PFOA and/or

                               PFOS despite knowledge of the hazards which PFOA and PFOS posed to the

                               groundwater in Colorado and the residents who depend on such water;

                       b.      Concealing the environmental properties and toxic nature of PFOA and PFOS,

                               and its impact on Plaintiffs and the environment; and

                       c.      Maximizing profits in a way Defendants knew or should have known would

                               result in the contamination of Plaintiffs’ drinking water.

                    281.    Defendants carried out their conspiracy by one or more of the following overt acts

            or omissions:

                       a.      Intentionally representing to the DOD, USAF, USEPA and the public that

                               AFFF/Component Products containing PFOA and PFOS were safe and did not

                               pose an environmental or human health risk;

                       b.      Concealing the dangers of PFOA and PFOS (including toxicological

                               information on the dangers of the chemicals to living organisms, adverse fate

                               and transport characteristics, and the propensity of PFOA and PFOS to

                               contaminate groundwater) from the government and the public by, among



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                               other means, repeatedly requesting that information about the dangers and

                               health effects of PFOA and PFOS be suppressed and not otherwise published,

                               and by downplaying any adverse findings relating to PFOA and PFOS;

                       c.      Concealing the dangers of AFFF/Component Products containing PFOA and

                               PFOS from end users, sensitive receptors, public water suppliers, and the

                               users and consumers of groundwater;

                       d.      Using their considerable resources to fight PFOA and PFOS regulation; and

                       e.      Collectively deciding to use PFOA and/or PFOS rather than other, safer

                               surfactants because AFFF/Component Products containing PFOA and/or

                               PFOS were the most profitable surfactant for Defendants to use.

                    282.       As a direct and proximate result of the Defendants’ above-described

            conspiracy, PFOA and PFOS, at all times relevant to this litigation has:

                       a.      Posed and continues to pose a health threat to Plaintiffs because it has

                               bioaccumulated in their bodies;

                       b.      Contaminated Plaintiffs’ property, soil, and groundwater, for those with

                               private water wells;

                       c.      Created the need for remediation of PFOA- and PFOS- contaminated

                               groundwater for those property owners who utilize private water wells, or,

                               where remediation of the groundwater is impractical, installation of a system

                               to filter out PFOA and PFOS or procurement of water from alternative

                               sources;




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                                                  CAUSES OF ACTION

                                                      COUNT 1:
                                                  DEFECTIVE DESIGN

                    283.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                    284.     As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

            their chemical precursors, Defendants owed a duty to all persons whom its products might

            foreseeably harm, including Plaintiffs, and not to market any product which is unreasonably

            dangerous in design for its reasonably anticipated used.

                    285.     Defendants’ AFFF/Component Products were unreasonably dangerous for its

            reasonably anticipated uses for the following reasons:

                        a. PFAS causes extensive groundwater contamination, even when used in its

                             foreseeable and intended manner;

                        b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                        c. PFAS poses significant threats to public health; and

                        d. PFAS create real and potential environmental damage.

                    286.     Defendants knew of these risks and failed to use reasonable care in the design of

            their AFFF/Component Products.

                    287.     AFFF containing PFOS, PFOA, and/or their chemical precursors poses a greater

            danger to the environment and to human health than would be expected by ordinary persons such

            as Plaintiffs.

                    288.     At all times, Defendants were capable of making AFFF/Component Products that

            did not contain PFOS, PFOA, and/or their chemical precursors. Thus, reasonable alternative

            designs existed which were capable of preventing Plaintiffs’ injuries.

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                    289.       The risks posed by AFFF containing PFOS, PFOA, and/or their chemical

            precursors far outweigh the products’ utility as a flame-control product.

                    290.       The likelihood that Defendants’ AFFF/Component Products would be spilled,

            discharged, disposed of, or released into the environment and Plaintiffs’ water well has been, and

            continues to be, contaminated with PFAS in varying amounts over time, causing Plaintiffs

            significant injuries and damages that far outweighed any burden on Defendants to adopt an

            alternative design, and outweighed the adverse effect, if any, of such alternative design on the

            utility of the product.

                    291.       As a direct and proximate result of Defendants’ unreasonably dangerous design,

            manufacture, and sale of AFFF/Component Products containing PFOS, PFOA, and/or their

            chemical precursors, Plaintiffs’ water supply has been, and continues to be, contaminated with

            PFAS in varying amounts over time, causing Plaintiffs significant injuries and damages.

                    292.       Defendants knew that it was substantially certain that their acts and omissions

            described above would contaminate Plaintiffs’ water supply with PFAS in varying amounts over

            time, causing Plaintiffs significant injuries and damages. Contamination that led to the exposure of

            Plaintiffs’ to toxins and increased their risk of numerous diseases. Defendants committed each of

            the above-described acts and omissions knowingly, willfully, and/or with fraud, oppression, or

            malice, and with conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or

            property rights.

                                                       COUNT 2:
                                                   FAILURE TO WARN

                    293.       Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:




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                    294.   As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

            their chemical precursors, Defendants had a duty to provide adequate warnings of the risks of

            these products to all persons whom its product might foreseeably harm, including Plaintiffs.

                    295.   Defendants’ AFFF/Component Products were unreasonably dangerous for its

            reasonably anticipated uses for the following reasons:

                       a. PFAS causes extensive groundwater contamination, even when used in its

                           foreseeable and intended manner;

                       b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                       c. PFAS poses significant threats to public health; and

                       d. PFAS create real and potential environmental damage.

                    296.   Defendants knew of the health and environmental risks associated with their

            AFFF/Component Products and failed to provide a warning that would lead an ordinary

            reasonable user or handler of a product to contemplate the dangers associated with their products

            or an instruction that would have avoided Plaintiffs’ injuries.

                    297.   Despite Defendants’ knowledge of the environmental and human health hazards

            associated with the use and/or disposal of their AFFF/Component Products in the vicinity of

            drinking water supplies, including PFAS contamination of the drinking supplies, Defendants failed

            to issue any warnings, instructions, recalls, or advice regarding their AFFF/Component Products to

            Plaintiff, governmental agencies or the public.

                    298.   As a direct and proximate result of Defendants’ failure to warn, Plaintiffs’ water

            supply has been, and continues to be, contaminated with PFAS in varying amounts over time,

            causing Plaintiffs significant injuries and damages. Further, this contamination led to the exposure




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            of Plaintiffs to toxins and increased their probabilities of numerous diseases as more fully set forth

            above.

                     299.   Defendants knew that it was substantially certain that their acts and omissions

            described above would contaminate Plaintiffs water supply with PFAS in varying amount,

            causing Plaintiffs significant injuries and damages. Defendants committed each of the above-

            described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and

            with conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or property rights.

                                                       COUNT 3:
                                                      NEGLIGENCE

                     300.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                     301.   As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

            their chemical precursors, Defendants owed a duty to Plaintiffs and to all persons whom its

            products might foreseeably harm and to exercise due care in the formulation, manufacture, sale,

            labeling, warning, and use of PFAS-containing AFFF.

                     302.   Defendants owed a duty to Plaintiffs to act reasonably and not place inherently

            dangerous AFFF/Component Products into the marketplace when its release into the air, soil, and

            water was imminent and certain.

                     303.   Defendants knew or should have known that PFAS were leaching from AFFF

            used for fire protection, training, and response activities.

                     304.   Defendants knew or should have known that PFAS are highly soluble in water,

            highly mobile, extremely persistent in the environment, and high likely to contaminate water

            supplies if released into the environment.




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                    305.   Defendants knew or should have known that the manner in which they were

            designing, manufacturing, marketing, distributing, and selling their AFFF/Component Products

            would result in contamination of Plaintiffs’ water supply with PFAS in varying amounts over

            time, causing Plaintiffs significant injuries and damages.

                    306.   Despite the fact that Defendants knew or should have known that PFAS are toxic,

            can contaminate water resources and are carcinogenic, Defendants negligently:

                       a. designed, manufactured, formulated, handled, labeled, instructed, controlled,

                           marketed, promoted, and/or sold AFFF/Component Products containing PFOS,

                           PFOA, and/or their chemical precursors;

                       b. issued deficient instructions on how their AFFF/Component Products should be used

                           and disposed of, thereby permitting PFAS to contaminate the groundwater in and

                           around the Site;

                       c. failed to recall and/or warn the users of their AFFF/Component Products of the

                           dangers of groundwater contamination as a result of standard use and disposal of

                           their products;

                       d. failed and refused to issue the appropriate warning and/or recalls to the users of their

                           AFFF/Component Products; and

                       e. failing to take reasonable, adequate, and sufficient steps or actions to eliminate,

                           correct, or remedy any contamination after it occurred.

                    307.   The magnitude of the burden on the Defendants to guard against this foreseeable

            harm to Plaintiffs was minimal, as the practical consequences of placing this burden on the

            Defendants amounted to a burden to provide adequate instructions, proper labeling, and

            sufficient warnings about their AFFF/Component Products.



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                    308.      As manufacturers, Defendants were in the best position to provide adequate

            instructions, proper labeling, and sufficient warnings about their AFFF/Component Products, and

            to take steps to eliminate, correct, or remedy any contamination they caused.

                    309.      As a direct and proximate result of Defendants’ negligence, Plaintiffs’ water

            supply has been contaminated with PFAS, in varying amounts of time, causing Plaintiffs

            significant injuries and damages.

                    310.      Defendants knew that it was substantially certain that their acts and omissions

            described above would cause Plaintiffs’ water supply to be contaminated with PFAS in varying

            amounts over time, causing Plaintiffs significant injuries and damages. Defendants committed

            each of the above-described acts and omissions knowingly, willfully, and/or with fraud,

            oppression, or malice, and with conscious and/or reckless disregard for Plaintiffs’ health and

            safety, and/or property rights.

                                                          COUNT 4:
                                                          TRESPASS

                    311.      Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                    312.      Plaintiffs are the owners, operators, and actual possessors of real property as

            defined herein.

                    313.      Defendants      designed,   manufactured,   distributed,   marketed,    and   sold

            AFFF/Component Products with the actual knowledge and/or substantial certainty that AFFF

            containing PFOS, PFOA, and/or their chemical precursors would, through normal use, release

            PFAS that would migrate into groundwater, causing contamination.




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                     314.     Defendants negligently, recklessly, and/or intentionally designed, manufactured,

            distributed, marketed, and sold AFFF/Component Products in a manner that caused PFAS to

            contaminate Plaintiffs’ property.

                     315.     As a direct and proximate result of Defendants’ trespass, Plaintiffs have suffered

            and continues to suffer property damage requiring investigation, remediation, and monitoring

            costs.

                     316.     Defendants knew that it was substantially certain that their acts and omissions

            described above would threaten public health and cause extensive contamination of property,

            including groundwater collected for drinking. Defendants committed each of the above-

            described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and

            with conscious and/or reckless disregard for the health and safety of others, and for Plaintiffs’

            property rights.

                                               COUNT 5:
                            ACTUAL FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                     317.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                     318.     Through their effectuation of the Spinoff, Chemours Co. and DuPont (the

            “Fraudulent Transfer Defendants”) caused Chemours Co. to transfer valuable assets to DuPont,

            including but not limited to the $3.9 billion dividend (the “Transfers”), while simultaneously

            assuming significant liabilities (the “Assumed Liabilities”).

                     319.     The Transfers and Assumed Liabilities were made for the benefit of DuPont.

                     320.     At the time that the Transfers were made and the Liabilities were assumed, and

            until the Spinoff was complete, DuPont was in a position to, and in fact did, control and

            dominate Chemours Co.


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                    321.   The Fraudulent Transfer Defendants made the Transfers and incurred the

            Assumed Liabilities with the actual intent to hinder, delay, and defraud the creditors or future

            creditors of Chemours Co.

                    322.   Plaintiffs have been harmed as a result of the conduct of the Fraudulent Transfer

            Defendants.

                    323.   Plaintiffs are entitled to avoid the Transfers and to recover property or value

            transferred to DuPont.

                                          COUNT 6:
                    CONSTRUCTIVE FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                    324.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                    325.   Chemours Co. did not receive reasonably equivalent value from DuPont in exchange

            for the Transfers and Assumed Liabilities.

                    326.   Each of the Transfers and the assumption of the Assumed Liabilities by Chemours

            Co. was made to or for the benefit of DuPont.

                    327.   At the time that the Transfers were made, and the Assumed Liabilities were

            assumed, and until the Spinoff was complete, DuPont was in a position to, and in fact did, control

            and dominate Chemours Co.

                    328.   The Fraudulent Transfer Defendants made the Transfers and assumed the Assumed

            Liabilities when Chemours Co. was engaged or about to be engaged in a business for which its

            remaining assets were unreasonably small in relation to its business.

                    329.   Chemours Co. was insolvent or in contemplation of insolvency at the time of the

            Transfers or became insolvent as a result of the Transfers and its assumption of the Assumed

            Liabilities.


                                                             84
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                    330.   At the time that the Transfers were made and Chemours Co. assumed the Assumed

            Liabilities, the Fraudulent Transfer Defendants intended to incur, or believed or reasonably should

            have believed, that Chemours Co. would incur debts beyond its ability to pay as they became due.

                    331.   Plaintiffs have been harmed as a result of the Transfers.

                    332.   Plaintiffs are entitled to avoid the Transfers and to recover property or value

            transferred to DuPont.

                                                     COUNT 6:
                                                PUNITIVE DAMAGES

                    333.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

            paragraphs and further alleges the following:

                    334.   Defendants engaged in willful, wanton, malicious, and/or reckless conduct that

            caused the foregoing damage upon Plaintiff, disregarding their protected rights.

                    335.   Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is

            not limited to Defendants’ failure to take all reasonable measures to ensure PFAS would not be

            released into the environment and inevitably to Plaintiffs’ water supply which was contaminated

            and continues to be contaminated with PFAS in varying amounts over time, causing Plaintiffs

            significant injury and damage.

                    336.   Defendants have caused great harm to Plaintiff, acting with implied malice and an

            outrageously conscious disregard for Plaintiffs’ rights and safety, such that the imposition of

            punitive damages is warranted.

                                                PRAYER FOR RELIEF

                    WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

            jointly and severally, and request the following relief from the Court:




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                        a. a declaration that Defendants acted with negligence, gross negligence, and/or willful,

                            wanton, and careless disregard for the health, safety of Plaintiffs;

                        b. an award to Plaintiffs of general, compensatory, exemplary, consequential, nominal,

                            and punitive damages;

                        c. an order for an award of attorney fees and costs, as provided by law;

                        d. pre-judgment and post-judgment interest as provided by law;

                        e. compensatory damages according to proof including, but not limited to:

                                    i. costs and expenses related to the past, present, and future
                                       investigation, sampling, testing, and assessment of the extent of PFAS
                                       contamination at Plaintiffs’ water source;

                                    ii. costs and expenses related to past, present, and future treatment and
                                        remediation of PFAS contamination at Plaintiffs’ water source; and

                                    iii. costs and expenses related to past, present, and future installation and
                                         maintenance of filtration systems to assess and evaluate PFAS at
                                         Plaintiffs’ water source;

                        f. an order barring the transfer of DuPont’s liabilities for the claims brought in this

                            Complaint;

                        g. an award of punitive damages in an amount sufficient to deter Defendants’ similar

                            wrongful conduct in the future;

                        h. an award of consequential damages;

                        i. an order for an award of attorney fees and costs, as provided by law;

                        j. an award of pre-judgment and post-judgment interest as provided by law; and

                        k. an order for all such other relief the Court deems just and proper.

                                              DEMAND FOR JURY TRIAL

                    Plaintiffs demand a trial by jury of all issues so triable as a matter of right.




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            DATED this 3rd day of November 2021.

                                                         Respectfully submitted,

                                                         NAPOLI SHKOLNIK

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